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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X

 LEOR KWELLER and
 ZOE LIBERMAN,

                                                 Plaintiff,

           -against-

 THE COUNTY OF BROOME, THE CITY OF                                             3:25-cv-343 (ECC/ML)
 BINGHAMTON, DISTRICT ATTORNEY MICHAEL
 A. KORCHAK, CHIEF ASSISTANT DISTRICT
 ATTORNEY MARK LOUGHRAN, ASSISTANT
 DISTRICT ATTORNEY ALYSSA CONGDON,
 ASSISTANT DISTRICT ATTORNEY AMANDA
 CRONIN, DISTRICT ATTORNEY INVESTIGATOR
 JEFF J. WAGNER,            BINGHAMTON POLICE
 DEPARTMENT         CHIEF       JOSEPH       ZIKUSKI,
 BINGHAMTON POLICE DEPARTMENT CAPTAIN
 CORY       MINOR,       BINGHAMTON            POLICE
 DEPARTMENT          INVESTIGATOR            AMANDA
 MILLER, all in their individual capacities, and JOHN
 DOES 1-10, representing Broome County District
 Attorney’s Office and Police Department Employees
 Whose Names Are Currently Unknown, HAILEY
 DEMKOVICH, and SAMANTHA HERCEG.

                                                 Defendants.

---------------------------------------------------------------------- X
                  Plaintiffs Leor Kweller (“Plaintiff Kweller” or “Mr. Kweller”) and Zoe Liberman

(“Plaintiff Liberman” or Ms. Liberman”), by their attorneys Newirth Linehan PLLC, Cuomo LLC,

and Brafman & Associates, P.C. as and for their Complaint against the Defendants allege as

follows:

                                         PRELIMINARY STATEMENT

        1.       Defendants Hailey Demkovich and Samantha Herceg falsely accused Plaintiff Leor

Kweller, a highly regarded and experienced educator, his brother Yaron Kweller and one of Yaron
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Kweller’s business partners, Jordan Rindgen, of rape. Defendants Demkovich and Herceg made

these false accusations intentionally, as revealed by contemporaneous video recordings and

communications from and between Defendants Demkovich and Herceg and third parties.

        2.     Rather than conduct a genuine investigation into Defendants Demkovich’s and

Herceg’s patently unreliable accounts, Defendants County of Broome and the City of Binghamton,

through its employees, officers and agents, violated Plaintiff Kweller’s Constitutional and civil

rights; arrested Plaintiff Kweller without probable cause; and maliciously prosecuted Plaintiff

Kweller.

        3.     The result of these events–and all of the acts and omissions set forth herein–was

the arrest and prosecution of an innocent man without probable cause, the destruction of his

previously stellar reputation; the ruination of his dream job and career; and irreparable harm to his

personal and family life. These harms have additional consequential damage which continues to

this day.

        4.     The charges against Mr. Kweller were dismissed by the Hon. Carol A. Cocchiola

on May 30, 2023. The Court ruled that the evidence presented to the Grand Jury was legally

insufficient to sustain a criminal prosecution against Leor Kweller for Rape in the First Degree in

violation of P.L. §130.35 (2) (Count 11) and legally insufficient to sustain a criminal prosecution

against Leor Kweller for Sexual Abuse in the First Degree in violation of P.L. §130.65(2) (Count

12).

        5.     The defendants nevertheless pursued their malicious prosecution of Plaintiff,

however, by filing a Notice of Appeal without any legal basis.




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          6.    Chemung County District Attorney Weedon Wetmore was subsequently appointed

as a Special Prosecutor over Plaintiff’s case. After investigating the matter, DA Wetmore

withdrew the appeal within six weeks of his appointment.

          7.    The Appellate Division Third Department accepted the withdrawal and dismissed

the appeal on April 1, 2024. This phase of Mr. Kweller’s nightmare was finally over.

          8.    But despite the dismissal, the damage has been done and continues. His reputation

is in shambles, he has been publicly humiliated, and he remains unemployed despite sending out

hundreds of applications for education-related positions, for which he is abundantly qualified. This

lawsuit seeks some measure of justice for these damages and the violations of his constitutional

rights.

          9.    Similarly, Plaintiff Zoe Liberman’s life has been irreparably harmed. Not only has

she lost the services and consortium of her husband, but she has also had her own financial

damages and diminution of her earning capacity as a direct result of her husband’s wrongful arrest

and malicious prosecution.

                                              JURISDICTION

          10.   Jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and 1343(a)(3) and

(a)(4), as this action seeks redress for the violation of Plaintiff’s constitutional and civil rights.

          11.   Supplemental jurisdiction is conferred upon this Court by 28 U.S.C. § 1367(a) over

any and all state law claims that are so related to the federal claims that they form part of the same

case or controversy.




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                                                    VENUE

        12.     Venue is proper in the United States District Court for the Northern District of New

York pursuant to 28 U.S.C. § 1391(b)(2), as this is the judicial district in which the events giving

rise to Plaintiffs’ claims took place.

                                                JURY DEMAND

        13.     Plaintiffs demand a trial by jury in this action on each and every one of their claims

for which a jury trial is legally available.

                                                   PARTIES

        14.     Plaintiff Leor Kweller is a citizen of the United States and the State of New York.

At all times relevant to this Complaint, Mr. Kweller was a resident of the State of New York, City

of New York, and Kings County.

        15.     Plaintiff Zoe Liberman is a citizen of the United States and the State of New York.

At all times relevant to this Complaint, Ms. Liberman was a resident of the State of New York,

City of New York, and Kings County.

        16.     Defendant County of Broome (“the County”) is a municipal entity created and

authorized under the laws of the State of New York. The County is responsible for the acts and

omissions of the Broome County District Attorney’s Office (“BCDAO”) and its employees and

agents, which act as its agent in the area of prosecution and for which it is ultimately responsible.

The County is responsible for the policies and practices of the BCDAO and is responsible for the

actions taken by BCDAO employees when they are acting as County agents and officers.

        17.     Defendant City of Binghamton (“the City”) is a municipal entity created and

authorized under the laws of the State of New York. The City is authorized by law to maintain a

police department and does maintain the Binghamton Police Department (BPD), which acts as its

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agent in the area of law enforcement and for which it is ultimately responsible. The City assumes

the risks incidental to the maintenance of a police force and the employment of police officers.

       18.     Defendant District Attorney Michael A. Korchak was at all times relevant to this

Complaint the duly elected District Attorney of Broome County, acting under color of law and in

his individual capacity within the scope of employment pursuant to the statutes, ordinances,

regulations, policies, customs, and usage of the City of Binghamton, County of Broome, and the

State of New York. He is being sued in his individual capacity.

       19.     Defendant Chief Assistant District Mark Loughran was at all times relevant to this

Complaint a duly appointed and active Assistant District Attorney, acting under color of law and

in his individual capacity within the scope of employment pursuant to the statutes, ordinances,

regulations, policies, customs, and usage of the City of Binghamton, County of Broome, and the

State of New York. He is being sued in his individual capacity.

       20.     Defendant Assistant District Attorney Alyssa Congdon was at all times relevant to

this Complaint a duly appointed and active Assistant District Attorney, acting under color of law

and in her individual capacity within the scope of employment pursuant to the statutes, ordinances,

regulations, policies, customs, and usage of the City of Binghamton, City of Broome, and the State

of New York. She is being sued in her individual capacity.

       21.     Defendant Assistant District Attorney Amanda Cronin was at all times relevant to

this Complaint a duly appointed and active Assistant District Attorney, acting under color of law

and in her individual capacity within the scope of employment pursuant to the statutes, ordinances,

regulations, policies, customs, and usage of the City of Binghamton, County of Broome, and the

State of New York. She is being sued in her individual capacity.



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       22.     Defendant District Attorney Investigator Jeff J. Wagner was at all times relevant to

this Complaint a duly appointed and active District Attorney Investigator, acting under color of

law and in his individual capacity within the scope of employment pursuant to the statutes,

ordinances, regulations, policies, customs, and usage of the City of Binghamton, County of

Broome, and the State of New York. He is being sued in his individual capacity.

       23.     Defendant BPD Captain Cory Minor was at all times relevant to this Complaint a

duly appointed and active Captain with the BPD, acting under color of law and in his individual

capacity within the scope of employment pursuant to the statutes, ordinances, regulations, policies,

customs, and usage of the City of Binghamton, County of Broome, and the State of New York. He

is being sued in his individual capacity.

       24.     Defendant BPD Investigator Amanda Miller was at all times relevant to this

Complaint a duly appointed and active Investigator with the BPD, acting under color of law and

in her individual capacity within the scope of employment pursuant to the statutes, ordinances,

regulations, policies, customs, and usage of the City of Binghamton, County of Broome, and the

State of New York. She is being sued in her individual capacity.

       25.     Defendants John Does 1-10 are those employees, agents and officers of either the

BCDAO or BPD whose names are presently unknown but who violated Plaintiff’s civil rights by,

inter alia, falsely arresting and maliciously prosecuting Plaintiff.

       26.     Defendant Hailey Demkovich is a natural person residing in the State of New York.

       27.     Defendant Samantha Herceg is a natural person residing in the State of New York.




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                                     STATEMENT OF FACTS


              The Events of November 26-27, 2021

        28.   On the night of November 26, 2021, Plaintiff Leor Kweller went to downtown

Binghamton, New York with his brother, Yaron Kweller, a well-known, local business owner to

visit several of the bars and restaurants Yaron Kweller owns in partnership with others (the

“Businesses”). It was the Friday night after Thanksgiving and the Businesses were crowded with

customers. It was also Yaron Kweller’s birthday.

        29.   Over the course of the evening, Plaintiff Kweller and his brother visited the

Colonial located at 56 Court Street Binghamton NY (“Colonial”); the Stone Fox, at 15 Hawley

Street, Binghamton, NY (“Stone Fox”); and Dos Rios Cantina, at 60 Court Street, Binghamton

NY (“Dos Rios”). Yaron Kweller was a part owner of all three establishments.

        30.   The Kweller brothers first went to Dos Rios, arriving there around 10 p.m. After

staying there for a time, they went to the Colonial and after some time there, went to the Stone

Fox.

        31.   At the Stone Fox, the Kweller brothers met up with Jordan Rindgen, who was the

general manager of Dos Rios, the Colonial, and the Stone Fox. On the night of November 26,

2021, Mr. Rindgen was working at the Stone Fox. Mr. Rindgen clocked out of work, and he,

Plaintiff Kweller, and Yaron Kweller left the Stone Fox to go to Dillinger’s, an establishment

located on State Street in Binghamton, New York.

        32.   The group arrived at Dillinger’s after midnight. At the upstairs bar in Dillinger’s,

a woman who was a stranger to Plaintiff Kweller approached him, Yaron Kweller and Jordan

Rindgen and bought them a round of drinks and a shot of alcohol. This stranger was Defendant


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Herceg, who was at Dillinger’s with some friends. Plaintiff, his brother Yaron, and Mr. Rindgen

stayed at Dillinger’s for a period of time and left at around 2 a.m.

       33.      From Dillinger’s, Plaintiff, his brother Yaron, Jordan Rindgen and Defendant

Herceg walked in the direction of the Stone Fox. Mr. Rindgen went inside to the establishment,

which was closed to the public, and brought out a bottle of wine and some White Claw alcoholic

beverages.

       34.      The group continued to Yaron Kweller’s business office on Washington Street in

Binghamton, New York, where the group remained for approximately 30-40 minutes.

       35.      While at the office on Washington Street, Defendant Herceg sent text messages to

her friends on a text group the members had named “UE Hoezzz.” UE stands for “Union Endicott”

and Hoezzz is slang for promiscuous women. Defendant Demkovich was also a member of the UE

Hoezzz group.

       36.      According to these messages, Defendant Herceg was excited about being with

Yaron Kweller and Jordan Rindgen. Defendant Herceg took at least two photographs of Mr.

Rindgen and sent it to the UE Hoezzz group.

       37.      Via text, Defendant Herceg invited her friends from the UE Hoezzz text group to

join her, Plaintiff, Yaron Kweller, and Mr. Rindgen at the office on Washington Street.

       38.      Via video telephone call, Mr. Rindgen provided Defendant Demkovich directions

to the office, and she arrived shortly thereafter.

       39.      Defendant Herceg met Defendant Demkovich on the street outside of the office and

the two reentered the Washington Street office together.




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       40.     Cameras owned and/or operated by BPD, the City of Binghamton, and various third

parties captured the street and sidewalk near the Washington Street office on the night of

November 26-27, 2021.

       41.     The group – now consisting of Plaintiff, Yaron Kweller, Mr. Rindgen, and

Defendants Herceg and Demkovich – left the office to go to the Colonial.

       42.     Security camera footage captured the group arriving at the Colonial. The security

footage shows Defendants Herceg and Demkovich walking, laughing, and entering the Colonial

freely and without assistance. As discussed in greater detail infra, this footage was provided to the

Binghamton Police Department by Yaron Kweller promptly after he was advised that Defendants

Herceg and Demkovich had accused him, Plaintiff and Jordan Rindgen of wrongdoing – months

before criminal charges were filed and the case was presented to a Grand Jury.

       43.     At the Colonial, Defendants Herceg and Demkovich ordered and drank shots of

alcohol. They began making out with each other at the bar. Plaintiff, Yaron Kweller, and Mr.

Rindgen were standing apart from Defendants Herceg and Demkovich and socializing together.

       44.     Thereafter, Defendants Herceg and Demkovich approached Mr. Rindgen and,

together, kissed him and rubbed his genitals. Defendants Herceg and Demkovich danced together

in a sexual manner, including by grinding their groins and buttocks against one another. They also

danced sexually with Yaron Kweller, grinding their bodies against his.

       45.     Security cameras installed inside of the Colonial captured the foregoing. As

discussed in greater detail infra, this footage was provided to the Binghamton Police Department

by Yaron Kweller promptly after he was advised that Defendants Herceg and Demkovich had

accused him of wrongdoing – months before criminal charges were filed and the case was

presented to a Grand Jury.

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       46.     When the Colonial closed at approximately 3 a.m., the group of five decided to go

back to Yaron Kweller’s business office on Washington Street.

       47.     Once again, the security cameras outside of the Colonial captured the group’s

departure, and again showed Defendants Herceg and Demkovich laughing and walking freely and

on their own accord. As discussed in greater detail infra, this footage was also provided to the

Binghamton Police Department by Yaron Kweller promptly after he was advised that Defendants

Herceg and Demkovich had accused him of wrongdoing – months before criminal charges were

filed and the case was presented to a Grand Jury.

       48.     Back at the office, Defendants Herceg and Demkovich asked to use the bathroom,

which was in the downstairs portion of the office.

       49.     The group went downstairs and Defendants Herceg and Demkovich went into the

bathroom together.

       50.     Defendants Herceg and Demkovich emerged from the bathroom partially

undressed. They then disrobed completely and began engaging in sexual contact with each other

– making out and fondling each other’s breasts and genitals – in full view of Plaintiff, Yaron

Kweller, and Mr. Rindgen.

       51.     Mr. Rindgen and Defendants Herceg and Demkovich did cocaine together.

Defendants Herceg and Demkovich put cocaine on their own and each other’s bodies and snorted

it off. They also allowed Mr. Rindgen to snort cocaine off of their bodies.

       52.     Defendant Herceg came over to the couch where Plaintiff Kweller was sitting and

tried to kiss him and stated that she wanted him to have sex with her and ejaculate inside her.

Plaintiff Kweller took no action towards Defendant Herceg at that time or at any time during the

encounter. Defendant Hereg then moved towards Defendant Rindgen.

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       53.     Mr. Rindgen and Defendant Demkovich then began kissing and touching each other

sexually. Defendant Demkovich initiated oral sex on Yaron Kweller.

       54.     Mr. Rindgen moved away from Defendant Demkovich and began having

consensual contact with Defendant Herceg. Neither Plaintiff Kweller, nor Yaron Kweller, nor

Jordan Rindgen had sexual intercourse with Defendant Demkovich or Defendant Herceg.

       55.     Soon thereafter – approximately forty-five minutes after the group had returned to

the office for the second time – Defendants Herceg and Demkovich told Plaintiff, his brother

Yaron, and Mr. Rindgen that they were ready to go home.

       56.     Defendants Herceg and Demkovich appeared to be in a good mood and were joking

with Plaintiff Kweller, Yaron Kweller, and Mr. Rindgen. Defendants Herceg or Demkovich stated

in substance that, in the future, she expected not to have to wait in line to get into any of the

establishments Yaron Kweller owned.

       57.     Security cameras owned and/or operated by third parties captured Defendants

Herceg and Demkovich leaving the Washington Street office and walking to a nearby parking

garage. They got into the car of a friend who was also a member of the UE Hoezzzz group.

Security footage shows Defendants Herceg and Demkovich walking on their own and entering the

car without assistance.

       58.     After Defendants Herceg and Demkovich left, Plaintiff, his brother Yaron, and

Jordan Rindgen returned to the Colonial where staff was cleaning up and closing the bar. Yaron

Kweller ordered a ride via his Uber telephone app, and he and Plaintiff took the Uber back to

Yaron Kweller’s home, arriving at approximately 4 a.m.

       59.     Plaintiff never had sexual intercourse with either Defendant Herceg or Demkovich.

Plaintiff had no sexual contact at all with Defendant Herceg except for kissing at the Colonial,

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which was initiated by Defendant Herceg, as captured on security cameras. Plaintiff had no sexual

contact with Defendant Demkovich.

       60.     All physical contact between Plaintiff and Defendants Herceg and/or Demkovich

was consensual.


       Mr. Kweller Learns that Defendants Herceg and Demkovich Were Falsely Accusing

Him of Rape

       61.     During the afternoon or evening of November 27, 2021, Yaron Kweller received a

phone call from Jordan Rindgen.

       62.     Mr. Rindgen informed Yaron Kweller that a person had called the Colonial,

identifying himself as Dylan Wesco. Mr. Wesco stated that he was Defendant Demkovich’s

boyfriend and that the owners of the Colonial had drugged and raped Defendant Demkovich.

       63.     Yaron Kweller was shocked by Mr. Rindgen’s report.

       64.     Yaron Kweller called a friend named Bob Fimbres, who was a detective in the

Binghamton Police Department (“BPD”).

       65.     Detective Fimbres confirmed to Yaron Kweller that a report of a sexual assault at

the Colonial had been made or was being made.

       66.     Yaron advised Plaintiff of the complaint.

       67.     Yaron retained counsel, F. Paul Battisti, Esq. and Plaintiff retained Andrea Zellan,

Esq. of Brafman & Associates, P.C. and Elena Fast of The Fast Law Firm, P.C.

       68.     In an effort to establish the falsity of any allegation of wrongdoing by Defendant

Herceg and/or Defendant Demkovich, Yaron Kweller voluntarily submitted to a private drug test.

This test established that he had no illegal substances in his system.


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       69.     Yaron Kweller also directed his employees to preserve all security camera footage

from the Colonial or any other business owned by him from the night in question.

       70.      From the moment he learned of the allegations, Plaintiff and Yaron Kweller also

sought to ensure that law enforcement preserved and reviewed all cell phone and other electronic

data (including social media posts) of Defendants Herceg and Demkovich, as they felt certain that

their electronic data would exonerate them of any claim of wrongdoing.

       71.     Neither Defendant BCDAO nor Defendant BPD took any reasonable steps to obtain

or preserve the electronic communications or data of Defendants Herceg and Demkovich. Indeed,

Defendants BPD and BCDAO failed even to direct Defendants Herceg and Demkovich to preserve

and/or retrieve their electronic data. This failure continued even as Defendants BPD and BCDAO

became aware of contradictions, inconsistencies, and false statements made by Defendants Herceg

and Demkovich and even as Defendants Herceg and Demkovich refused to consent to Defendants

BPD or BCDAO’s request to access to their electronic data.

       72.     Defendant Herceg ultimately testified at the criminal trial in this matter that she was

instructed to destroy electronic data relating to the night in question by Defendant Congdon, the

lead prosecutor on the case, and that she did in fact destroy that evidence.


       Defendants Herceg and Demkovich’s Electronic Communications and Data from the
       Night in Question and the Days Following Make Clear that Any Sexual Contact Was
       Consensual, but that They Believed and Agreed that a False Rape Accusation Could
       Benefit them Personally
       73.    Beginning on or about November 27, 2021, Defendants Herceg and Demkovich

exchanged text messages between themselves and with third parties regarding the events of the

evening.




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       74.      These messages make clear that any sexual contact was consensual, that they were

fully cognizant and aware of all events of the evening, and that false rape allegations to cover up

their consensual participation in sex acts–in particular with Yaron Kweller and Jordan Rindgen,

whom they believed to have significant assets–could benefit them personally. These messages

include (all typos are in original material):

             a. November 27, 2021 – Defendant Demkovich to a Third Party: “I don’t want anyone

                to know….” “And it was consensual. I knew what was happening. But those guys

                should be fucking disgusted with themselves.”

             b. November 27, 2021 – Defendant Demkovich to Defendant Herceg: “And I

                remember saying to Jordan I was like I better not get denied at any of ur bars.”

             c. November 27, 2021 - Defendant Herceg to Defendant Demkovich: “Like I can’t

                have this get out…”

             d. November 28, 2021, Exchange between Defendant Herceg and Defendant

                Demkovich (referencing Defendant Miller): “I am not gonna show her those”

                Herceg: “I don’t think you should” Demkovich: “I am 100% not going to” Herceg:

                “I am worried about her calling stupid f**king Bianca”

             e. November 29, 2021 – Defendant Herceg to Defendant Demkovich and a Third

                Party: “I’m settling for nothing Less then a million”

             f. November 29, 2021 – Defendant Herceg to Defendant Demkovich and a Third

                Party: (referring to Yaron Kweller and Mr. Rindgen) “I want the Benz and the

                Beamer” “And both their houses”

             g. November 29, 2021 – Defendant Herceg and Defendant Demkovich and a Third

                Party: (referring to Yaron Kweller and Mr. Rindgen) “I want all their bars . . .”

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    h. November 29, 2021 - Defendant Herceg to Defendant Demkovich: “Yup 100% but

       i do remember being at Alisha’s and when she said we were at Jordan’s i was like

       wtf we were w them? And she was like yeah haikey said u guys got raped and

       obviously I’m still drunk I’m like whattt no way it doesn’t even feel like I’ve had

       sex i don’t think anything happened and Alisha was like exactly”

    i. November 30, 2021 - Defendant Demkovich to Defendant Herceg and Third

       Parties: “the reason i had to call 911 is because when i told my parents my dad

       literally got in the car and was headed straight to downtown”

    j. December 3, 2021 - Defendant Demkovich instant messages to Defendant Herceg

       and Third Parties: “if you guys have any photos of us drinking if u could delete

       them that would be good” “we can’t erase everything but minimize it as much as

       possible” “Danayah maybe archive ur disposals of them on insta” “i might just

       delete any risky pics” “i need to go on my computer to delete my vsco”

    k. December 3, 2021- Defendant Herceg instant message to Defendant Demkovich:

       “I’ve deleted all my posts and changed my user name to no last night and trying to

       delete all my republishes”

    l. December 3, 2021, from a Third Party to Defendant Demkovich, Defendant

       Herceg, and Third Parties: “i already deleted everything w [Herceg] in it and

       everything hailet sent me to delete”

    m. December 7, 2021 from a Third Party (“T.P.”) to Defendant Demkovich: T.P.: “it

       da took me 5 mins of silence to go all the way back up to the messages that night”

       Demkovich.: “mad far and i don’t even have them bc i think i accidentally deleted



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       them that night” T.P.: “yeah i deleted them all out of your phone bc u were going

       to dylan’s [Demkovich.’s then boyfriend]”

    n. December 7, 2021 from a Third Party to Defendant Demkovich: “and then i told

       her that when [Herceg] came over she told me she didn’t have sex but she turned

       the corner and saw you but thats all she could remember” “bro yeah she [Herceg]

       was like that whole night i would know if i got fucked i don’t feel anything in my

       vagina but it was prob bc bitch was numb af”

    o. December 8, 2021 - Defendant Demkovich. to Defendant Herceg: “okay so i’m

       slightly panicking at work because i was just reading my texts from the day after

       the incident and i said to danayah that it was consensual and that i knew what was

       happening. but the whole day after the incident i was questioning if i got raped and

       i thought it might be classified as consensual because i didn’t say no.”

    p. December 8, 2021 - Defendant Herceg to Defendant Demkovich: “Trust me i was

       panicking too [about the text messages] Bc i said in the groupchat that night “I’d

       fuck”

    q. December 8, 2021 - Defendant Herceg to Defendant Demkovich: “I don’t think you

       have anything to worry about. Bc if she did get the subpoena [for the phone

       messages] I’m sure she only got it from the times of like 1-4am”

    r. December 8, 2021 from Defendant Herceg. to Defendant Demkovich and Third

       Parties: “Yes i deleted everything then made it private and changed everything”

    s. December 27, 2021 Defendant Demkovich to her mother - (after Yaron Kweller’s

       defense counsel served and filed an Order to Show Cause on December 22, 2021,

       requesting preservation of the Defendants Herceg and Demkovich’s cell phones):

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       “i told you i have a message of me saying it was consensual the day after, because

       i was confused and not in the right head space if the defense sees it, i’m done”

    t. December 27, 2021 - Defendant Demkovich. to Defendant Herceg.: “and i have a

       message of me saying it’s consensual” “the day after”

    u. December 27, 2021 - Defendant Herceg to Defendant Demkovich: “I have

       messages w Alisha saying I’d fuck ring ding [Jordan Rindgen]”

    v. December 27, 2021 - Defendant Demkovich. to Defendant Herceg: “yeah they will

       take the message of me saying it’s consensual and i’m done” “the lawyer tom

       [Saitta] needs to make it so they can’t get our phones period” .

    w. December 28, 2021 – Defendant Demkovich to her mother: “I told them [BPD] the

       next day I was questioning if what happened to me was actually rape . . . ”

    x. December 28, 2021 - Defendant Demkovich to her mother: “i accidentally deleted

       one text it was in the group text”

    y. December 28, 2021 - text message from Defendant Demkovich to Defendant

       Herceg: “i told him i said it was consensual” “i’m just worried that I said more than

       once it was consensual” “i said something about it being consensual”

    z. January 13, 2022 - Defendant Demkovich to her mother: “I just don’t want

       [Herceg’s] parents to judge me for saying it was consensual”

    aa. January 14, 2022 Defendant Demkovich to Defendant Herceg: “i really don’t see

       why they’d still want to supoena our phones after i’ve provided all of That” “so

       fingers crossed”

    bb. March 7, 2022 Defendant Herceg to Defendant Demkovich: “My parents wanted

       us to press charges because why tf would we not if the cops are called and we’re

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       getting fucking rape kits done. I told my mom the second i told her i didn’t want

       the cops involved. I didn’t have a choice in that matter. Whoever is telling you what

       you’re doing is okay is enabling bad behavior that is literally gonna take a shit on

       you in the future, again you’ve already said it was consensual and now you’re acting

       essentially like nothing happened which is exactly what the defense is gonna say.

       So good luck w that, trying to get you to understand is like talking to a brick wall.

       Maybe 30 days now hailey they have to turn in every last bit of evidence if you

       think they aren’t watching you right now more then ever you’d be fucking dumb.

       I’ve said what i had to say to you now three times and I’m sure you’ll go right

       behind my back and disrespect me a fourth. What you do reflects you, not me so

       idk what i give a fuck anyway.”

    cc. June 6, 2022 - Defendant Demkovich to her mother: “and the text messages i sent

       really fuck me up” “i didn’t know because i didn’t say no”

    dd. June 13, 2022, Defendant Herceg to Defendant Demkovich: “. . . Fuck you hailey

       you’re a piece of shit. You think you sit in a high horse bc you “came looking for

       me” that night “only one who cared” no you didn’t. If you thought I was in such

       danger like you say then you would’ve called the cops you would’ve brought

       everyone their w you to get me out. You came for what you thought was gonna be

       a good time. You’re a garbage human who see nothing wrong w their actions.”

    ee. June 15, 2022, Defendant Herceg to a Third Party: “She [Demkovich] told Bianca

       on FaceTime on her walk to “save me” that she wanted to fuck Jordan [Rindgen],

       she wanted to go because she wanted to sleep w Jordan. Not to come save me” . . .



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                “And she came for what she thought was going to be a good time” . . . “I don’t

                remember anything from that night” “Everything I know is from hee [Demkovich]”

             ff. July 25, 2022 - Defendant Demkovich to her mother: “i wanna drop the charges”

                Demkovich’s mother: “[Herceg] got a new phone…” “No access to her old cloud”

                Demkovich: “and i texted [Herceg] and she got a new phone so they didn’t

                subpoena hers”

       75.      Critically, none of these text messages reference Plaintiff, or indeed anyone other

than Yaron Kweller and Jordan Ringden.


       BPD ’s Initial Investigation Finds No Support for Defendant Herceg and Defendant
       Demkovich’s Allegations, Instead Uncovering Many Reasons to Doubt their Veracity
       and Reliability
       76.   On November 27, 2021, Defendants Herceg and Demkovich reported a sexual

assault to the New York State Police. In this initial report, neither Defendant Herceg or Demkovich

stated that they said “no”, otherwise indicated a lack of consent, resisted, or were overpowered or

physically forced to engage in physical contact or sexual intercourse with anyone on the night in

question. The New York State Police advised Defendants Herceg and Demkovich to contact the

Binghamton Police Department given the location of the events being reported.

       77.      On November 28, 2021, Defendant BPD Investigator Amanda Miller was assigned

to investigate Defendants Herceg and Demkovich’s false allegation of sexual assault. Defendant

Minor supervised Defendant Miller and reported to Defendant Joseph Zikuski.

       78.      On November 28, 2021, Defendant Miller separately interviewed Defendant

Herceg and Defendant Demkovich.

       79.      Thereafter, Defendants Herceg and Demkovich and others provided Defendant

Miller with photographs and text messages from the night in question. These materials confirmed

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that Defendants Herceg and Demkovich voluntarily spent time with Plaintiff, Yaron Kweller and

Jordan Rindgen on the night in question.

       80.     The messages provided represented selected, non-continuous accounts of the night

in question and did not provide a complete record of the relevant period.

       81.     The excluded text messages – which were sent to the entire UE Hoezzz group,

between Defendants Herceg and Demkovich only, and between each of Defendants Herceg and

Demkovich and third parties – included messages stating that the contact between Defendants

Herceg and Demkovich and Plaintiff, Yaron Kweller, and/or Jordan Rindgen had been consensual,

as well as messages from Defendants Herceg and Demkovich to others directing that they delete

electronic data, including text messages, photographs from the night in question, and social media.

       82.     According to text messages between Defendant Demkovich and her mother,

Defendant Demkovich told members of BPD that she was questioning whether she was, in fact,

raped, or if the physical or sexual contact was consensual. This was not recorded by Defendant

Miller or anyone else from BPD and thus not timely turned over to counsel for the accused.

       83.     Defendants Herceg and Demkovich did delete certain electronic data from their

phones, although on information and belief, these deletions did not remove the same from other

sources, including third parties who received and/or stored the locally deleted electronic data.

       84.     Defendants Herceg and Demkovich explicitly refused, repeatedly, to grant

Defendant Miller or anyone from BPD consensual access to their cell phones or electronic data.

       85.     Defendant Miller nor anyone from BPD took any steps during the early days of the

investigation to obtain or preserve Defendant Herceg or Defendant Demkovich’s electronic data.

Neither Defendant Miller nor anyone from BPD advised Defendant Herceg or Defendant

Demkovich to preserve their electronic data.

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         86.      On the same day, November 28, 2021, BPD was notified that Yaron Kweller had

retained counsel, F. Paul Battisti. In a call the next day, November 29, 2021, Mr. Battisti advised

Defendant Miller that Yaron Kweller intended to provide BPD information including surveillance

video.

         87.      On December 7, 2021, BPD and BCDA were notified that Plaintiff had retained

counsel, Andrea Zellan, Esq. and Elena Fast, Esq.

         88.      On November 30, 2021, Mr. Battisti’s office provided Defendant Miller with

security camera footage from the Colonial which covered the inside of the bar and the basement

that led out of the Colonial to the employee entrance.

         89.      As described supra, this camera footage showed Defendants Herceg and

Demkovich cognizant, in control of their actions, initiating and engaging in consensual sexual

contact – kissing and touching – with each other and with Plaintiff, Yaron Kweller, and Mr.

Rindgen, and smiling and appearing in good spirits throughout the evening. It also showed them

walking through the basement area of their own free will.

         90.      On December 6, 2021, Defendants Minor and Miller executed a duly issued search

warrant at the Washington office. No physical evidence of any kind, including any bodily fluids,

was identified.

         91.      BPD also obtained footage from security cameras installed on Washington Street

by third parties, including but not limited to the City of Binghamton, which showed Defendants

Herceg and Demkovich exiting the Washington Street office at approximately 3:48 a.m. in the

morning, and walking to a nearby parking garage.




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       92.     This footage materially contradicted Defendant Herceg and Defendant

Demkovich’s accounts of the evening insofar as they claimed to have been scared, coerced, abused,

or physically overpowered by the three men.

       93.     This footage, together with all of the other facts and circumstances, raised

substantial concerns about Defendants Herceg and Demkovich’s credibility and reliability.

       94.     Despite this, Defendant Herceg testified that she was never shown footage from the

Colonial that materially contradicted her and Defendant Demkovich’s account by either BPD or

BCDAO. The first time Defendant Herceg saw this footage was when she was cross-examined by

Yaron Kweller’s counsel at his criminal trial.

       95.     On information and belief, Defendant Demkovich was similarly not confronted by

BPD or BCDAO with any of the contradictory footage provided by Yaron Kweller.


       Despite the Lack of Any Credible Evidence Supporting Defendant Herceg and

Defendant Demkovich’s False Allegations, the Allegations are Leaked to the Public,

Resulting in a Frenzy of Rapidly Proliferating Lies, Destroying Plaintiff’s Reputation and

Livelihood

       96.     Within days of Plaintiff learning of the false allegations against him, rumors that a

sexual assault had been perpetrated by owners of the Colonial, Dos Rios, and the Stone Fox and

an unnamed third party (later alleged to be Plaintiff) began to spread throughout the Binghamton

community. These rumors began appearing almost immediately on social media sites, including

Facebook, Snapchat, Reddit, and a forum called BC Voice. Plaintiff was kept informed of these

incidents via conversations with his brother Yaron Kweller. For example (all errors in original):




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    a. On November 29, 2021, a forum “Downtown Binghamton rape” was started on

       www.bcvoice.com, a local website. The first post refers to a “rape that allegedly

       happened at a downtown Binghamton business. One of the worst stories I’ve heard

       in a long time.” on November 30, 2021, the original poster elaborated “[a]n

       underage girl was drugged and raped at a downtown Binghamton bar. Not going

       to name any names at this point.” On December 7, 2021, a different user posted a

       photograph of The Colonial. The site would continue to grow.

    b. On Thursday, December 8, 2021, a Facebook group originally called “Boycotting

       Colonial, Dos Rios, Stone Fox, etc.” launched and gained more than 5,200 members

       within hours of its appearance. The group changed its name to “Binghamton

       believes Survivors of Sexual Assault.” Members of the group falsely accused the

       owners of the Colonial, Dos Rios, and Stone Fox of sexual assault.




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       c. One of the earliest posts – which has since established to be false – reads:




            d. As of the filing of this complaint, this Facebook group still exists and has

               13,200 members. The “About this group” section of the page reads: “This

               group started as a means to empower the victims of sexual assault from a

               couple owners from the Colonial and there other restaurants. The

               allegations are horrific and truly terrible, but investigation is ongoing. In

               the midst of these stories, women have reached out to share their stories

               of countless other issues that have taken place in restaurants downtown

               and more. As a community it is responsibility of its citizens to set the


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                         community standard. Please join us in finding a solution to enact real

                         change for a better future and to bring these victims peace.”

                      e. In addition to social media posts and rumors, local news media began

                         reporting on the false accusations and soon identified Plaintiff by name.

       97.     On or about December 9, 2021, a protest – publicized on social media – was

announced for December 11, 2021, in downtown Binghamton in response to the sexual assault

allegations.

       98.     On December 10, 2021 – notwithstanding Defendant Zikuski’s prior statement that

he had recommended against filing criminal charges – BPD issued a press release stating that it is

investigating a November 28, 2021, incident involving the owners of the Colonial and that it is

aware of additional allegations being made on social media.

       99.     The same day, Defendant Korchak issued a video statement to Facebook and other

channels in which he asserted that his office received “numerous” emails and phone calls regarding

“several incidents that occurred recently” in Broome County. He explained that the laws of the

State of New York prevented him from discussing the details of ongoing investigations and

prosecutions and encouraged those with knowledge to contact the BCDAO or local police

departments.

       100.    On December 11, 2021, more than 500 protestors gathered in front of the Colonial

and Dos Rios and marched to the Stone Fox. According to the local Fox affiliate, the purpose of

the gathering was “to protest and criticize the restaurant owners’ handling of several sexual assault

allegations    that     came     earlier    this        week     via   social   media.”          See

https://www.wicz.com/story/45425463/protestors-gather-downtown-in-front-of-restaurants-

amidst-sexual-assault-allegations

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       101.   Rumors continued to grow, including claims that there are “far more than 15

victims” and that “every single member of the owner group” has been implicated.


       The Broome County District Attorney’s Office Joins the Investigation into

Defendants’ Herceg and Demkovich’s Allegations

       102.   As of December 7, 2021, defense counsel for Plaintiff Leor Kweller had contacted

both the BPD and BCDAO and advised those offices of their representation, asserted their clients’

Fifth Amendment rights against self-incrimination, and demanded notice of any presentation to

the Grand Jury pursuant to New York CPL § 190.50(5).

       103.   On December 8, 2021, either Defendant Korchak or Defendant Loughran asked

Defendant Congdon to attend a meeting with members of BPD regarding Defendants Herceg and

Demkovich’s sexual assault allegations as Bureau Chief of BCDAO’s Special Victim’s Bureau.

           a. Defendant Congdon had been hired by BCDAO less than a month earlier, on

              November 15, 2021, having never been a prosecutor before.

           b. During Defendant Congdon’s interview process with BCDAO, she was informed

              that BCDAO intended to make her Bureau Chief of the Special Victims Bureau.

           c. Defendant Congdon indicated to BCDAO that she believed she lacked sufficient

              prosecutorial experience for the role of Bureau Chief of the Special Victims Bureau.

              Nevertheless, soon after starting at BCDAO as Senior District Attorney, Defendant

              Congdon was offered the position of Bureau Chief of the Special Victims Bureau.

              Despite knowing she was not qualified for the position, Defendant Congdon

              accepted this promotion.




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    d. Despite Defendant Congdon’s lack of prosecutorial experience and her expressed

       concerns about having the experience to handle the role of Bureau Chief of the

       Special Victims Bureau, BCDAO provided her no training whatsoever, including

       with respect to discovery obligations generally; identifying and disclosing Brady or

       Giglio information; mechanisms for obtaining evidence; the requirements for

       certifying discovery under CPL § 245.50; the use and application of digital

       discovery tools; and all other aspects of prosecutorial work.

    e. Defendant Congdon’s workload, consisting of multiple serious felony cases plus

       supervisory and administrative responsibilities as Bureau Chief, meant that she

       could not conduct her work responsibly, even if she had received proper training.

    f. Despite having been a member of the Bar of the State of New York from 2012, and

       despite having practiced criminal defense for nearly a decade, Defendant Congdon

       did not understand her legal obligations as a prosecutor; she did not know what

       materials constituted Brady or Giglio; she was unaware of, unfamiliar with, or did

       not understand critical provisions of New York’s criminal law and criminal

       procedure law; and she did not seek to remedy any of these deficiencies during the

       pendency of the underlying investigation and prosecution.

    g. It is also evident that BPD had no training of its members as to Brady, Giglio, and

       discovery obligations of law enforcement officers as no one from BPD, at any

       meetings with members of BCDAO, ever expressed any concerns with ADA

       Congdon’s handling of the case and the evidence received; members of BPD

       including Defendant Miller never interceded or suggested to anyone from BCDAO



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                 that some of the evidence they were obtaining was exculpatory and/or impeachment

                 evidence.

       104.      At the December 8, 2021, meeting, Defendants Korchak, Loughran, Congdon,

Minor, and Miller discussed Defendants Herceg and Demkovich’s allegations and the ongoing

investigation.

       105.      Defendant Loughran – who was then the Chief Assistant District Attorney –

asserted that the contents of Defendants Herceg and Demkovich’s phones should be obtained and

asked whether they had consented to turn their phones over. Upon information and belief,

Defendants Korchak, Loughran, Congdon, Minor, and Miller discussed subpoenaing Defendants

Herceg and Demkovich’s phones.

       106.      At or after the December 8, 2021, meeting, Defendant Korchak and/or Defendant

Loughran assigned Defendant Congdon to the investigation and determined that Defendant

Congdon would work with Defendant Loughran, and Defendant Korchak would be available for

guidance.

       107.      This assignment was made despite Defendant Congdon’s lack of any relevant

prosecutorial experience and lack of any training whatsoever, including by BCDAO, her new

employer.

       108.      Despite recognizing the evidentiary value of Defendant Herceg and Defendant

Demkovich’s phones, and considering subpoenaing the phones, no one from BPD or BCDAO took

any steps to obtain or preserve either Defendant Herceg or Defendant Demkovich’s electronic data.

Defendant Herceg and Defendant Demkovich continued to refuse consensual access to their

phones by BPD or BCDAO.



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       109.    On December 14, 2021, Defendants Loughran, Miller, Congdon and District

Attorney Investigator Anthony Diles met separately with Defendants Herceg and Demkovich.

Defendant Herceg and Defendant Demkovich refused to consent to the extraction of electronic

data from their respective cellular phones.

       110.    Defendant Herceg ultimately testified at Yaron Kweller’s trial that Defendant

Congdon instructed her to delete her social media accounts and that she followed Defendant

Congdon’s instruction.

       111.    On December 22, 2021, defense counsel for Plaintiff and his brother, Yaron

Kweller, filed an Order to Show Cause seeking preservation of the electronic data belonging to

Defendants Herceg and Demkovich, which BCDAO opposed. The Corporation Counsel’s Office,

on behalf of the BPD, also opposed the application. Oral argument was heard.

       112.    BCDAO and BPD opposed the motion despite their office’s repeated, unsuccessful

attempts to obtain Defendant Herceg and Defendant Demkovich’s electronic data with their

consent and the offices’ recognition that the electronic data would be critical to the investigation.

       113.    Even while the Order to Show Cause was pending, BCDAO continued to

unsuccessfully seek Defendants Herceg and Demkovich’s consent to extract their electronic data.

       114.    Defendants Herceg and Demkovich retained counsel, Thomas Saitta, Esq.

       115.    On January 14, 2022, Mr. Saitta emailed Defendant Congdon and informed her that

he had a folder containing printouts of electronic data from Defendants Herceg and Demkovich’s

telephones (hereinafter, the “Saitta Folder”).

       116.    Defendant Congdon directed Defendant Wagner to retrieve the Saitta Folder from

Mr. Saitta.



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       117.   Defendant Congdon informed her supervisors, including Defendant Loughran

and/or Defendant Korchak about the Saitta Folder and its availability to BCDAO.

           a. Neither Defendant Wagner, Defendant Congdon or anyone else from BCDAO or

              BPD ever retrieved the Saitta Folder.

           b. Neither Defendant Congdon nor anyone else from BCDAO or BPD informed

              counsel for Plaintiff, Yaron Kweller, or Jordan Rindgen or the court before whom

              the Order to Show Cause was pending, of the existence of the Saitta Folder.

           c. Even when Defendant Congdon learned that Defendant Wagner had not picked up

              the Saitta Folder as directed, she took no steps to obtain the Saitta Folder.

           d. Neither Defendant Wagner nor Defendant Congdon was ever disciplined for failure

              to retrieve or turn over the Saitta Folder to the defense.

           e. Defense counsel for Plaintiff, Yaron Kweller, and Jordan Rindgen ultimately

              obtained the Saitta Folder by judicial subpoena duces tecum in July 2023 – at a time

              when neither BCDAO or BPD had obtained the folder – and discovered that it

              contained numerous exculpatory and impeaching text messages.

       118.   During the same period – January 2022 – Defendant Loughran and Defendant

Congdon agreed that they would continue to try to obtain Defendant Herceg’s and Defendant

Demkovich consent to extract their electronic data. Defendants Herceg and Demkovich continued

to refuse to consent to BCDAO or BPD requests for access to their phones or electronic data.

       119.   The Order to Show Cause was denied on January 21, 2022.

       120.   BCDAO and BPD worked closely during the investigatory period prior to the

decision to charge Plaintiff, Yaron Kweller and Jordan Rindgen with any crime. In addition to the

foregoing, for example, Defendant Congdon tried to assist Detective Miller in drafting a search

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warrant for Plaintiff’s, Yaron Kweller’s, and Jordan Rindgen’s DNA. Defendant Congdon did not

know that she could apply directly to a court to obtain a suspect’s DNA and neither she, Defendant

Miller, or anyone at BCDAO or BPD knew how to draft an appropriate application. No reasonable

prosecutor or investigator in 2021-2023 would not be aware that they could apply directly to a

court for an order compelling a suspect’s DNA.

       121.    No search warrant or motion to compel a buccal swab or a DNA sample was ever

completed because Defendant Congdon and Detective Amanda Miller erroneously believed that

they could not obtain a criminal defendant’s DNA pre-arrest. This mistake of law – uncorrected

by supervisors Defendants Korchak, Loughran, Zikuski, and Minor – was the result of a lack of

training, supervision, and proper procedures within the BCDAO and BPD. No reasonable

prosecutor or investigator in 2021-2023 would believe that they could not lawfully obtain a DNA

sample from a criminal suspect accused of a sex crime prior to arrest.

       122.    Defendant Congdon also did not know how to obtain Defendant Herceg and

Defendant Demkovich’s electronic data. She mistakenly believed that she did not have probable

cause to believe that the phones contained evidence relating to the purported crime under

investigation. This was a mistake of law and objectively unreasonable, given that she knew that

Defendants Herceg and Demkovich were using their phones and sending and receiving electronic

data before, during, and after the alleged crime. This mistake of law and lack of basic knowledge

of her role and responsibility as a prosecutor – uncorrected by supervisors Defendants Korchak,

Loughran, Zikuski, and Minor – was the result of a lack of training, supervision, and proper

procedures within the BCDAO and BPD. No reasonable prosecutor or investigator in 2021-2023

would not know how to obtain a complaining witness’s electronic data under these circumstances.



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       123.    Defendant Korchak, Defendant Loughran, and Defendant Congdon met multiple

times to discuss the investigation between December 8, 2021, and February 22, 2022. Despite the

aforementioned issues, Defendant Congdon was provided with no meaningful supervision,

training, correction or instruction regarding proper investigatory or prosecutorial procedures.

       124.     During the period November 2021 through February 2022, Defendant Korchak,

Defendant Loughran, and Defendant Congdon were aware that the reports issued by traditional

media and claims posted on social media were false, and that these false claims were leading to

the destruction of Plaintiff's reputation and his brother’s businesses. Nevertheless, they took no

steps to correct that information or otherwise temper the public outrage over false rape accusations

against Plaintiff and the others.

       125.    Beginning in December 2021, Defendant Korchak and Defendant Loughran ceded

ultimate decision-making authority over the investigation to Defendant Congdon, whom they

knew lacked the necessary prosecutorial experience, knowledge, and training to handle a serious

felony investigation, and who repeatedly expressed concern to them, as her supervisors, that she

was being given more responsibility than she could handle. Indeed, Defendant Congdon had never

before handled a criminal investigation from start to finish. No reasonable supervising prosecutor,

or elected District Attorney, in 2021-2023, would believe it reasonable to cede authority for a high-

profile felony sex crimes investigation to an untrained, novice prosecutor.


       Mr. Kweller Is Arrested Without Probable Cause

       126.    In or about February 2022, because neither ADA Congdon, nor anyone else at

BCDAO or BPD seemingly knew how to gain access to Defendant Herceg and Demkovich’s




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electronic data or the DNA of any of the accused, Defendant Congdon mistakenly believed that

the investigation had reached a dead end.

       127.      Defendant Amanda Cronin was hired by the BCDAO from another prosecuting

agency, where she had served as a sex crimes prosecutor for a number of years. She was also

assigned to the instant case and worked together with Defendant Congdon and under the

supervision of Defendants Korchak and Loughran.

       128.      Because of her incorrect, erroneous, and unreasonable beliefs, Defendant Congdon

decided that Plaintiff, Yaron Kweller, and Jordan Rindgen should be arrested and charged in local

court. The arrest was effectuated and processed by members of BPD.

       129.      The decision to arrest was not based on a determination that probable cause existed

to arrest Plaintiff, Yaron Kweller, or Jordan Rindgen; rather it was based on Defendant Congdon’s

mistake of law and mistaken belief that their arrest would give Defendant Congdon and the

BCDAO the ability to gather more evidence to advance the investigation.

       130.      Indeed, no probable cause existed to arrest Plaintiff.

       131.      Despite there being no probable cause to charge Plaintiff, Defendant Congdon met

with BPD on or about February 22, 2022, and decided with BPD to file criminal charges against

Plaintiff, Yaron Kweller, and Jordan Rindgen in local court. Each of the accused asserted their

innocence and pleaded not guilty.

       132.      On February 22, 2022, BPD notified Plaintiff’s attorney that Mr. Kweller would

have to appear to be arrested, charged and arraigned. Counsel for Mr. Kweller produced him on

the same date.

       133.      On information and belief, representatives of the press were informed in advance

that Plaintiff, Yaron Kweller, and Jordan Rindgen were being charged and arrested and were

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present at the BPD and the local courthouse to cover the event. Numerous stories were published

in traditional media as well as social media about the arrest and charging of Plaintiff, Yaron

Kweller, and Jordan Rindgen.

       134.      Mr. Kweller was charged with Rape in the Third Degree in violation of New York

Penal Law section 130.25(d), a Class E Felony, which provides:

       Lack of consent results from:(a) Forcible compulsion; or (b) Incapacity to consent; or (c)
       Where the offense charged is sexual abuse or forcible touching, any circumstances, in
       addition to forcible compulsion or incapacity to consent, in which the victim does not
       expressly or impliedly acquiesce in the actor's conduct; or (d) Where the offense charged
       is rape in the third degree as defined in subdivision three of section 130.25, or criminal
       sexual act in the third degree as defined in subdivision three of section 130.40, in addition
       to forcible compulsion, circumstances under which, at the time of the act of intercourse,
       oral sexual conduct or anal sexual conduct, the victim clearly expressed that he or she did
       not consent to engage in such act, and a reasonable person in the actor's situation would
       have understood such person's words and acts as an expression of lack of consent to such
       act under all the circumstances.
       135.      The statutory language and case law interpreting New York Penal Law section

130.25(d) require that, for victims with the capacity to consent (as alleged here), the victim clearly

must express that they do not consent and a reasonable person in the actor’s situation would have

understood the person’s words and acts as an expression of lack of consent under all the

circumstances.

       136.      Plaintiff was charged in the felony complaint with a single count of Rape in the

Third Degree under Penal 130.25(3)(sexual intercourse with another person without such person`s

consent where such lack of consent is by reason of some factor other than incapacity to consent.

When he was indicted six weeks later the charges were Rape in the First Degree under Penal law

130.35(2) and Sexual Abuse in the First Degree under Penal Law 130.65(2) despite the fact that

Defendant Herceg stated she had no recollection of the events and Demkovich only told Defendant



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Miller, Defendant Congdon, and others at BPD and BCDAO that she thought she saw Herceg and

Plaintiff having sex and that any sex she had was consensual.

           137.   BPD and BCDAO, including through Defendants Minor, Miller, Congdon, and

Cronin, never disclosed this exculpatory information to the defense. Rather, the defense learned of

it a year after Plaintiff’s arrest when they finally received forensic images of Defendants Herceg

and Demkovich’s cell phones.

           138.   Furthermore, neither complainant made any direct allegations against Plaintiff

having had any sexual contact with either of them that would meet the elements of the statute.

           139.   The only evidence that could have conceivably provided probable cause for

Plaintiff’s arrest were the statements of Defendants Herceg and Demkovich.

           140.   Under the facts and circumstances of this case, however, those statements did not

provide probable cause for Plaintiff’s arrest because objective evidence obtained during the

investigation prior to the decision to arrest Plaintiff contradicted their allegations and undermined

their reliability and veracity.

           141.   Furthermore, their allegations against Plaintiff did not meet the elements of the

statute.

           142.   Prior to Plaintiff’s arrest, Defendants Zikuski, Congdon, Miller, and Korchak were

in possession of information and material that vitiated any allegedly existent probable cause, and

which called into serious doubt the reliability and credibility of Defendants Herceg and

Demkovich.

           143.   Any reasonable law enforcement officer or prosecutor would have known that any

probable cause provided by the complainants’ initial report of the crime had dissipated and became

non-existent by the time of the arrest and commencement of the prosecution. There were

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significant circumstances known to the BCDAO and BPD that would have made any reasonable

law enforcement officer hold off on the arrest of Plaintiff and continue the investigation.

       144.    Plaintiff, prior to his arrest and after his arrest, along with Yaron Kweller and

Jordan Rindgen pressed the BPD and BCDAO to retrieve the texts, messages, images, and other

electronic data from Defendants Herceg’s and Demkovich’s phones knowing that it would likely

contain exculpatory evidence. For example:

           a. On or about December 22, 2021, Plaintiff filed an Order to Show Cause pursuant

               to C.P.L. § 245.50(3) to ensure that evidence was not lost or destroyed, which was

               opposed by BPD and BCDAO and then denied on or about January 21, 2022,

               because no criminal action was then pending;

           b. On or about March 10, 2022, following the Plaintiff’s arrest on the Criminal Court

               Complaint, Plaintiff filed a motion pursuant to C.P.L. § 245.50(3) seeking to

               compel preservation and disclosure of forensic images of Defendants Herceg’s and

               Demkovich’s cell phones, which was opposed by BPD and BCDAO and denied on

               or about March 15, 2022, based, in part, on the allegedly speculative nature of the

               Plaintiff’s arguments that the phones would contain relevant, material, admissible

               evidence and due in part to the lack of jurisdiction over what was at that time a local

               court matter;

           c. In or around July 2022, Plaintiff made a motion to compel production of Defendants

               Herceg and Demkovich’s cell phones and also issued several subpoenas to cell

               phone carriers and social media platforms to try to independently obtain the sought

               after material.



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        145.    The Defendants utterly failed to quickly and timely obtain or provide the requested

material.

        146.   Even when Defendants Herceg’s and Demkovich’s attorney, Thomas Saitta,

notified BCDAO in January 2022 that he had obtained text messages and other material that was

relevant to the investigation well before Plaintiff’s arrest, Defendants refused and failed to obtain

that material and never told the Plaintiff’s defense counsel of its existence.

        147.   Yaron Kweller provided video footage from security cameras he had access to

establishing the falsity of the Defendants Herceg and Demkovich’s claims, but, on information

and belief, neither Defendant Herceg nor Defendant Demkovich were ever confronted with that

footage and asked to explain why their report differed from the objective evidence in material

ways.

        148.   Defendants obtained other security camera footage which also established the

falsity of Defendants Herceg and Demkovich’s claims.

        149.   During the course of the investigation, the Defendants obtained no evidence

supporting or corroborating the allegations of Defendants Herceg and Demkovich.


      Mr. Kweller’s Arrest is Widely Reported, and He and His Family Face Severe
Consequences from the False Accusations
      150. The alleged incident was widely reported on social media and traditional media

        outlets as described above. Additionally, the story was picked up by media in the Jewish

        and Orthodox Jewish community in New York City.

        151.   Plaintiffs and their families are members of these communities.




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 152.   The media reporting caused Plaintiff Kweller to be terminated from his position as

 a teacher at the Yeshiva of Flatbush Joel Braverman High School, a position he had held

 for approximately ten years.

 153.   This position was the fulfillment of a lifelong dream of Plaintiff Kweller to teach

 and mentor children.

 154.   In fact, Mr. Kweller had attended law school; passed the Bar; and begun a

 successful career as a lawyer, but left the practice of law in order to pursue his dream of

 being an educator.

 155.   Due to this incident, he has still not been able to regain employment as an educator

 or obtain employment in any position for which he is qualified.

 156.   The false accusations against and false arrest and malicious prosecution of Mr.

 Kweller had other negative, direct and foreseeable effects:

    a. Mr. Kweller stopped being able to provide economically for his family because he

        lost his job and could not find another job causing them to rely on their savings for

        day-to-day expenses;

    b. Mr. Kweller developed depression and anxiety; he sought treatment; and went on

        medication;

    c. Mr. Kweller’s depression and anxiety made it impossible for him to continue

        providing childcare for his children, including his special needs son;

    d. All of the foregoing caused additional stress and pressure on Mr. Kweller’s wife

        and children;




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    e. Under the stress and pressure facing the family, the Kwellers’ son lost many of the

        developmental achievements he had made over the prior year, including losing all

        speech;

    f. Plaintiff Zoe Liberman, Mr. Kweller’s wife, had to take on additional

        responsibilities at home–including caring for Mr. Kweller during his depression–

        which caused her performance at work to deteriorate;

    g. Ms. Liberman’s mental health also suffered; she developed depression and anxiety;

        sought treatment; and went on medication;

    h. In October 2022, Ms. Liberman lost her job as a Project Manager at NYU’s

        Langone Health’s Center for Department of Population Health, where she had

        worked for approximately eight years;

    i. Because Ms. Liberman had become the sole breadwinner and sole source of health

        insurance for her family as a result of the false allegations against Mr. Kweller and

        his false arrest and malicious prosecution, Ms. Liberman was desperate to find

        work;

    j. As a result, she applied for and accepted a role at a lower salary and outside of her

        established professional specialty of public health, becoming a Program Manager

        at NYU Grossman School of Medicine;



 157.    The incident and attendant stress caused Ms. Liberman to get negative performance

 reviews for the first time in her professional career and to not get expected salary increases

 due to those poor performance reviews.



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       158.     In addition to the foregoing, the Defendants’ actions and inaction caused other

       significant financial, emotional and psychological harm to the Plaintiffs.


       The Baseless Prosecution Proceeds
       159. The Defendants nevertheless continued with the prosecution of Plaintiff in the

absence of probable cause.

       160.    The Defendants all continued with the prosecution of Plaintiff despite being in

possession of exculpatory evidence which they suppressed from Plaintiff and his co-defendants,

Yaron Kweller and Jordan Rindgen.

       161.    In addition to the Saitta Folder materials and the full set of electronic data on

Defendants Herceg and Demkovich’s cellular phones, at some point during the investigation or

prosecution, Defendant Demkovich informed Defendant Congdon and others at BCDAO that she

never said “no” or physically resisted any sex acts.

       162.    Defendant Herceg claimed to have no memory of what occurred and therefore

could not make out charges against Plaintiff Kweller. No witness gave a statement to BPD or

BCDAO where they stated that they had any sexual contact with Plaintiff.

       163.    Neither Defendant Congdon nor Defendants Korchak, Loughran, Cronin or anyone

else at BCDAO recognized the exculpatory nature of this information and did not disclose it to the

defense. That Defendant Congdon did not recognize the exculpatory nature of this information

and her obligation to turn it over to the defense further reflects the lack of training, supervision,

policies and procedures within BCDAO.

       164.    Once Plaintiff was arrested, his attorneys sought the discovery to which Plaintiff

was legally entitled.



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       165.    Defendant Congdon was unfamiliar with New York’s discovery laws and her

obligations as a prosecutor under those laws.       Neither Defendant Korchak nor Defendant

Loughran, as supervisors, provided Defendant Congdon any training or direct supervision

regarding BCDAO’s obligations to provide criminal defendants discovery pursuant to New York

law, as well as the New York State and federal constitutions.

       166.    Defendant Congdon, again mistaken about the law, believed that she had a limited

amount of time to share discovery before she had to indict the case. Neither Defendant Korchak

nor Defendant Loughran, as supervisors, provided Defendant Congdon any training or direct

supervision regarding how and when to indict a criminal case. Defendant Cronin did not intervene

to ensure that Plaintiff received the material to which he was legally entitled, nor did Defendant

Cronin correct Defendant Congdon’s mistaken apprehension of the law.

       167.    Overwhelmed by the amount of discovery and having still not reviewed all of the

materials available to her and BCDAO, and having still not obtained the Saitta File, Defendant

Congdon instead decided to present the case to the grand jury at the end of March 2022. No new

information was available to Defendant Congdon or BCDAO since the time of Plaintiff’s arrest.

       168.    Defendants Congdon and Cronin kept exculpatory information from the Grand

Jury. For example, the Grand Jury did not learn that Defendant Demkovich had reported that she

was questioning whether a rape had occurred and that she believed and told numerous people that

any contact had been consensual, nor did the Grand Jury learn of the exculpatory DNA results that

were learned after the Grand Jury returned a voted indictment.

       169.    Defendants Loughran, Defendant Cronin, and Defendant Congdon presented the

case to the Grand Jury, with Defendant Congdon – who had almost no experience presenting a



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case to the Grand Jury – as the lead prosecutor. Defendant Korchak supervised the attorneys and

the presentation to the Grand Jury. There were serious flaws with the presentation including:

           a. The instructions provided to the grand jury included inaccurate statements of the

               law.

           b. The materials presented to the Grand Jury necessarily did not include the

               exculpatory and impeachment material that had either been suppressed or not

               obtained as of the date of the presentation.

       170.    The Grand Jury returned an indictment as to Plaintiff, charging him with Rape in

the First Degree in violation of New York Penal Law § 130.35(2), a Class “B” violent felony,

punishable by up to 25 years imprisonment and Sex Offender Registration and Sexual Abuse in

the First Degree, in violation of New York Penal Law § 130.65(2), class “D” violent felony

punishable by up to 7 years imprisonment and Sex Offender Registration and punishable by post-

releae supervision.

       171.    On March 31, 2022, Plaintiff was arraigned in Broome County Court and pleaded

not guilty to both charges.

       172.    Despite not having obtained all of the available evidence, including the exculpatory

and impeachment evidence in the Saitta Folder and exculpatory DNA test results, Defendants

Congdon and Cronin.

       173.     Supervised by Defendants Korchak and Loughran, filed a Certificate of

Compliance as required by New York Criminal Procedure Law §245.50 at Plaintiff’s arraignment.

This statute requires that a prosecutor certify that they have exercised due diligence and made

reasonable inquiries to ascertain the existence of material and information subject to discovery,

and after so doing, has disclosed and made available all known material and information subject

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to discovery. As described supra, such representations were inaccurate and false given the many

failings by Defendants Korchak, Loughran, Congdon, and Cronin to identify and obtain

information that existed and was available to them.

       174.   Ultimately, after Plaintiff was arraigned on the Rape in the First Degree and Sexual

Abuse in the First Degree charges, Plaintiff and Yaron Kweller were excluded by DNA as

contributors to the DNA obtained through Defendant Herceg’s forensic rape examination.

       175.   In June 2022, Plaintiff consented to having his DNA obtained via buccal swab and

in July 2022, he was excluded as a contributor to the two-male DNA profile mixture obtained from

Defendant Hereg’s rape kit.

           a. Both Defendants Herceg and Demkovich underwent forensic rape examinations

              immediately after the night in question. Material thereby obtained for Defendant

              Demkovich was unsuitable for testing, while material obtained from Defendant

              Herceg revealed a mixture of two male DNA profiles.

           b. This result was inconsistent with Defendants Herceg and Demkovich’s account to

              Defendants Miller and Congdon, insofar as Herceg denied having intercourse for

              more than a month and Defendant Demkovich described only seeing Defendant

              Herceg with one man, Leor Kweller – an allegation Leor Kweller consistently

              denied.

           c. Ultimately, Plaintiff was excluded as a contributor to the DNA-mixture obtained

              from Defendant Herceg’s rape kit, thus establishing that Defendant Herceg

              provided false information to BPD and Defendant Miller that she stated that she

              had not had sexual intercourse for a month and a half before the night in question.



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          d. At some point during the investigation, Defendant Herceg changed her account and

              revealed a potential consensual sexual partner from the relevant time period to

              BCDA. After testing, that potential partner was also excluded as a contributor to

              the two-profile DNA mixture.      Defendants Korchak, Loughran, Cronin, and

              Congdon failed to disclose Defendant Herceg’s changed account concerning the

              potential consensual sexual partner for six weeks — until the DNA results, which

              excluded the newly disclosed partner as a contributor, came back.

          e. Because the method of testing applied to Plaintiff’s biological material was Y-STR,

              Yaron Kweller as his biological brother was also excluded as a contributor to the

              material obtained from Defendant Herceg.

       176.   As of early July 2022, when Plaintiff and Yaron Kweller were excluded as

contributors to the material obtained from Defendant Herceg, neither BCDAO nor BPD had

obtained forensic images of the cell phones of Defendant Herceg or Defendant Demkovich, both

of whom continued to refuse to consent to any search of their cell phones. Neither Defendant

Congdon, Defendant Cronin, Defendant Loughran, nor Defendant Korchak took any steps to

preserve or ensure the preservation of Defendant Herceg’s and Defendant Demkovich’s cell

phones.


       A Forensic Image of Defendant Demkovich’s Phone – and its Exculpatory Contents
– is Finally Produced to Plaintiff, Leor Kweller, and Jordan Rindgen
       177. On July 11, 2022, counsel for Plaintiff, Yaron Kweller, and Jordan Rindgen filed a

Request to Preserve, and a Motion to Compel Production of Defendants Herceg and Demkovich’s

Cellular Phones.




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       178.    On August 5, 2022, Defendant Congdon notified the Defense that Defendants

Herceg and Demkovich agreed to the imaging of their cellular phones, which was conducted by

BCDAO and BPD.

       179.    On November 10, 2022, BCDAO received a hard drive with the extractions of the

cell phones of Defendants Herceg and Demkovich (hereinafter, the “Hard Drive”) from BPD.

       180.    Due to a lack of training, supervision, procedures, or protocols, and due to

Defendants Congdon’s and Cronin’s lack of experience, and due to the fact that Defendant

Congdon’s work load did not permit her to devote the necessary time to the instant case, neither

Defendant Congdon, Cronin, Loughran, Korchak, Miller, Minor, Zikuski, or anyone else from

BCDAO or BPD reviewed the contents of the Hard Drive – notwithstanding the fact that they had

been trying to obtain the materials for nearly a year and counsel for Plaintiff, Yaron Kweller, and

Jordan Rindgen’s insistence that exculpatory material could be found there.

       181.    On November 17, 2022, BCDAO purportedly granted access to the Hard Drive to

counsel for Plaintiff, Yaron Kweller, and Jordan Rindgen. However, the conditions of the review

– including that the review be conducted at BCDAO’s office which did not have the appropriate

hardware or software – made it impossible for counsel for the accused to productively review the

materials.

       182.    Counsel for Plaintiff, Yaron Kweller, and Jordan Rindgen repeatedly requested

access to the hard drive materials, but BCDAO would only agree to its production if a protective

agreement was executed. Counsel for Plaintiff, Yaron Kweller, and Jordan Rindgen agreed to the

protective order, but, as of January 2023, BCDAO still did not produce the materials, despite

repeated requests from the accused.



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       183.    Counsel for Plaintiff, Yaron Kweller, and Jordan Rindgen again sought judicial

intervention and on January 13, 2023, the presiding court ordered Defendants Congdon and Cronin

and the BCDAO to provide the Hard Drive to the accused on or before February 13, 2023.

       184.    The agreed-to protective order was executed and Defendants Congdon, Cronin and

BCDAO timely turned over a working Cellebrite report of Defendant Demkovich’s cellular phone

(the “Cellebrite Material”).

       185.    However, a working copy of the forensic image of Defendant Herceg’s cellular

phone from the time of the alleged incident was never produced, because in March 2022 — more

than three months after the defense’s first request for preservation — Defendant Herceg obtained

a new phone and a new iCloud account. Consequently, none of Defendant Herceg’s

communications from November 27, 2021, through March 2022 were present on the Cellebrite

report that was provided to the accused.

       186.    On February 14, 2023, counsel and private investigators for Plaintiff, Yaron

Kweller, and Jordan Rindgen commenced the review of Defendant Demkovich’s cellular phone.

Within the first 36 hours, counsel unearthed relevant and exculpatory material from cellular

communications between the Defendant Demkovich and Defendant Herceg and between the

Defendant Demkovich and Defendant Herceg and third parties described supra. Over the next

several days, Counsel for Plaintiff, Yaron Kweller, and Jordan Rindgen uncovered even more

relevant and exculpatory evidence that indicated that not only was the November 27 encounter

consensual, but that the Defendant Demkovich advised Defendant Congdon of same, before

testifying in the Grand Jury. Additionally, these communications indicated that complainant

Defendant Herceg was certain that she did not have intercourse on the night in question, which

was inconsistent with her testimony in the Grand Jury.

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          187.   The Cellebrite Material made clear that the information that Defendant Demkovich

was “questioning it” was in the possession of Defendants Korchak, Loughran, Congdon, and

Cronin prior to Plaintiff’s arrest and prior to the Grand Jury presentation. Yet, the messages and

the underlying information were never identified and disclosed to the Counsel for Plaintiff, Yaron

Kweller, and Jordan Rindgen by Defendant Korchak, Loughran, Congdon, or Cronin or anyone at

BCDA. Instead, Counsel for Plaintiff, Yaron Kweller, and Jordan Rindgen unearthed it

independently by reviewing the Cellebrite Materials in February 2023, almost one year after the

arrests and arraignment of the defendants on felony complaints.

          188.   During the course of counsel’s February 2023 review of the Cellebrite Material,

Counsel for Plaintiff, Yaron Kweller, and Jordan Rindgen learned that Thomas Saitta had been

retained by Defendant Herceg and Defendant Demkovich and that they had provided him with

copies of their electronic communication from the relevant period. Defendant Herceg and

Defendant Demkovich exchanged messages to the effect that Mr. Saitta was going to review and

turn over their communications to BCDAO on Defendant Herceg and Defendant Demkovich’s

behalf.

          189.   Soon thereafter, in February 2023, Plaintiff’s attorney attempted to speak to Mr.

Saitta to learn more about the materials and whether they had in fact been turned over to BCDAO.

          190.   In fact, the BCDAO had still not collected the Saitta Folder and would not do so

even as late as June 22, 2023.

          191.   On February 24, 2023, Plaintiff, Yaron Kweller, and Jordan Rindgen filed a joint

omnibus motion, seeking, inter alia the dismissal of charges against all clients. Counsel for

Plaintiff and the other accused had previously sent a letter to Defendants Korchak, Congdon and

Cronin identifying all the issues with the case and calling for a dismissal.

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       192.    On May 31, 2023, Hon. Judge Carol A. Cocchiola of the Broome County Court

dismissed the charges against Plaintiff. Specifically, Judge Cocchiola found that the complainants’

testimony, together with contemporaneous video recordings of Defendant Herceg engaging in

various, complex activities during the relevant time period, rendered impossible the prosecution’s

theory that Defendant Herceg was unable to consent by reason of physical helplessness.

       193.    Judge Cocchiola’s decision also pointed out improper practices and procedures by

the Broome County District Attorney’s Office in the Grand Jury process.

       194.    Specifically, Judge Cocchiola noted that ADA Congdon charged the Grand Jury

with regard to a corroboration requirement on sexual assault cases that “was repealed by the

Legislature in 1974 and is not an accurate statement of law.” Additionally, Judge Cocchiola took

issue with ADA Congdon’s Grand Jury instruction on the legal standard for the indictment, which

ADA Congdon charged as “reasonable cause to believe the defendant is guilty of some

wrongdoing” rather than “reasonable cause to believe that Defendant committed the offense.”

       195.    The Court remarked that such erroneous instructions “have appeared in other

instructions by the prosecutors in the Broome County District Attorney’s Office” and incorrectly

imply that the function of the Grand Jury is to determine guilt or innocence.


Despite All of the Evidence Exculpating Leor Kweller and Revealing the Falsity of Defendant

Herceg and Defendant Demkovich’s Allegations, BCDAO Attempts to Salvage the

Prosecution Against Plaintiff Kweller

       196.    In June 2023, Defendants Korchak and Congdon filed a notice of appeal of the

decision dismissing the indictment as to Plaintiff.




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       197.    Plaintiff’s attorney, Andrea Zellan, made repeated attempts to contact Defendants

Korchak and Congdon among others to try to meet to discuss the case and lack of any evidence

against the Plaintiff and to urge the BCDAO not to perfect the appeal of the criminal case dismissal.

       198.    These attempts were ignored.

       199.    On October 23, 2023, jury selection began in the prosecution of Yaron Kweller and

Jordan Rindgen.

       200.    On October 31, 2023, Yaron Kweller and Jordan Rindgen were acquitted of all

charges after the jury deliberated for only two hours before returning a not guilty verdict. The two

hours of deliberation included readbacks of some testimony.

       201.    Despite all the foregoing, the Defendants Korchak and Congdon among others

continued the appeal of Judge Cocchiola’s decision dismissing Plaintiff’s case.

       202.    After the election of Paul Battisti to the position of District Attorney for Broome

County, a special prosecutor, Weeden A. Wetmore, the District Attorney for Chemung County,

was appointed to handle the appeal.

       203.    DA Wetmore applied to the Appellate Division Third Department to withdraw the

Notice of Appeal on or about February 20, 2024.

       204.    No reasonable prosecutor or law enforcement officer would have proceeded as far

and as long as Defendants did with a prosecution for rape with the foregoing material in hand.

       205.    Nevertheless, Defendants did proceed with the prosecution and appeal out of

malice; recklessness; willful blindness; and for ulterior motives including their own promotion,

publicity, and appeasement of public pressure.

       206.    Defendants proceeded with the prosecution of Plaintiff without probable cause.



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          207.     The dismissal of the case against Plaintiff and the acquittal of Yaron Kweller and

Jordan Ringden did not end either Plaintiff Kweller or Plaintiff Liberman’s damages.

          208.     Plaintiff Kweller still has not been able to obtain gainful employment in his chosen

field; he still believes that his community still believes that there must have been some truth to the

allegations; and he continues to suffer from the trauma and emotional distress caused by this

ordeal.

          209.     Plaintiff Liberman continues to not have the same support and services from

Plaintiff Kweller that she did prior to this incident. The stress and strain on her and her family

remains.

                                                  DAMAGES

          210.     The injuries and damages sustained by Plaintiff arising from his false arrest and

malicious prosecution include but are not limited to the following: loss of freedom; pain and

suffering; severe mental anguish; emotional distress; loss of family relationships; severe

psychological damage; loss of property; violation of his civil rights; legal expenses; loss of income;

humiliation, indignities, and embarrassment; degradation. As a direct result of his false arrest and

malicious prosecution, many of the effects of these injuries continue to this day and will continue

into the future.

          211.     Leor Kweller can never be returned to the position he occupied before this

nightmare began: his previously stellar reputation is destroyed, and he has lost his career as an

educator. He has been branded a rapist, a false label that remains notwithstanding the dismissal of

his case and withdrawal of the frivolous appeal.

          212.     The false arrest and malicious prosecution of Plaintiff has shattered personal and

professional relationships that cannot ever be fully restored.

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        213.    Plaintiff Zoe Liberman has also lost the life she once knew.

        214.    Not only did she lose the love, services and consortium of her husband, but due to

his unemployability, she and her family were placed under great financial and personal strain.

        215.    She began to have physical and mental health symptoms due to the stress of the

criminal action against Plaintiff and due to his unemployability.

        216.    The quality of her work diminished, and she lost her job – twice.

        217.    She had to be the sole caretaker of her children as Plaintiff was too damaged to

fully participate in their care.

        218.    She eventually found a lesser paying job which added to the financial and emotional

strain on the family.

        219.    As a result of all the foregoing, she also suffered additional emotional and physical

injuries.

                                           FEDERAL CLAIMS

                                    FIRST CAUSE OF ACTION
                                          42 U.S.C. § 1983
             Fourth and Fourteenth Amendment False Arrest and Malicious Prosecution
            Against Defendants Korchak, Congdon, Cronin, Wagner, Minor, Zikuski and Miller

        220.    Plaintiffs hereby incorporate by reference all of the foregoing paragraphs and

further alleges as follows:

        221.    Defendants Korchak, Congdon, Cronin, Wagner, Minor, Zikuski, and Miller, with

malice and knowing that probable cause did not exist to arrest Leor Kweller and prosecute him for

the purported rape of Defendants Demkovich and Herceg, acting individually and in concert,

caused Leor Kweller to be falsely arrested, charged, and prosecuted for those crimes, thereby

violating Leor Kweller’s clearly established rights under the Fourth and Fourteenth Amendments


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of the United States Constitution to be free of unreasonable searches and seizures and to be free of

prosecution absent probable cause.

       222.    Specifically, these Defendants, acting individually and in concert, fabricated

evidence and intentionally withheld from and misrepresented to Mr. Kweller’s defense counsel,

the court, grand jury, and trial court, exculpatory facts that vitiated probable cause against Leor

Kweller and would have impeached witnesses for the prosecution at trial.

       223.    These Defendants also deliberately failed to conduct a constitutionally adequate

investigation in light of evidence clearly demonstrating that Mr. Kweller did not rape Defendant

Demkovich or Defendant Herceg.

       224.    These Defendants performed the above-described acts under color of state law,

intentionally, with reckless disregard for the truth, and with deliberate indifference to Leor

Kweller’s clearly established constitutional rights. No reasonable prosecutor or police officer in

2021-2023 would have believed this conduct was lawful.

       225.    Leor Kweller is completely innocent of the crimes alleged by Defendants

Demkovich and Herceg. The prosecution finally terminated in Mr. Kweller’s favor on April 1,

2024, when the Appellate Division Third Department dismissed Defendants’ frivolous appeal.

       226.    As a direct and proximate result of these Defendants’ actions, Leor Kweller spent

nearly two years fighting patently false allegations and criminal charges, arrested, and subjected

to indictment, and suffered the other grievous and continuing damages and injuries set forth above.

       227.     As a direct and proximate result of these Defendants’ actions, Zoe Liberman

suffered grievous and continuing damages and injuries set forth above.

                                     SECOND CAUSE OF ACTION

                                            42 U.S.C. § 1983

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        Fourteenth Amendment Deprivation of Liberty Without Due Process of Law and
       Denial of a Fair Trial by Fabricating Evidence, Withholding Material Exculpatory
    and Impeachment Evidence, and Deliberately Failing to Conduct a Constitutionally
                                  Adequate Investigation
            Against Defendants Korchak, Congdon, Cronin, Wagner, Minor and Miller

       228.    Plaintiffs hereby incorporate by reference all of the foregoing paragraphs and

further alleges as follows:

       229.    Defendants Korchak, Congdon, Cronin, Wagner, Minor and Miller, acting

individually and in concert, deprived Leor Kweller of his clearly established constitutional right,

under the Fourteenth Amendment of the United States Constitution, to due process.

       230.    These Defendants deprived Leor Kweller of his right to due process by deliberately

failing to conduct a constitutionally adequate investigation.

       231.    These Defendants deprived Leor Kweller of his right to due process by fabricating

inculpatory evidence including false witness statements inculpating Leor Kweller. These

Defendants deprived Leor Kweller of his right to due process by withholding material exculpatory

and impeachment evidence from Mr. Kweller’s defense counsel and the Court.

       232.    These Defendants deprived LeorKweller of his right to due process by directing the

destruction of material exculpatory and impeachment evidence in order to hide it from Mr.

Kweller’s defense counsel and the Court.

       233.    These Defendants performed the above-described acts under color of state law,

intentionally, with reckless disregard for the truth, and with deliberate indifference to Mr.

Kweller’s clearly established constitutional rights. No reasonable prosecutor, investigator or police

officer in 2021-2023 would have believed this conduct was lawful.

       234.    Leor Kweller is completely innocent of the crimes alleged by Defendants

Demkovich and Herceg. The prosecution finally terminated in Mr. Kweller’s favor on April 1,

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2024, when the Appellate Division Third Department dismissed Defendants’ frivolous appeal.

       235.    As a direct and proximate result of these Defendants’ actions, Leor Kweller spent

nearly two years fighting patently false allegations and criminal charges, arrested, and subjected

to indictment, and suffered the other grievous and continuing damages and injuries set forth above.

       236.    As a direct and proximate result of these Defendants’ actions, Zoe Liberman

suffered grievous and continuing damages and injuries set forth above.

                                     THIRD CAUSE OF ACTION

                                     42 U.S.C. § 1983
                                   Failure to Intervene
                 Against Defendants County of Broome, City of Binghamton,
           Korchak, Loughran, Congdon, Cronin, Wagner, Minor, Miller and Zikuski

       237.    Plaintiffs hereby incorporate by reference all of the foregoing paragraphs and

further alleges as follows:

       238.    By their conduct and under color of state law, Defendants Korchak, Loughran,

Congdon, Cronin, Wagner, Minor, Miller and Zikuski had opportunities to intervene on behalf of

Leor Kweller to prevent his false arrest, malicious prosecution, false imprisonment, and

deprivation of liberty without due process of law, but, due to their intentional conduct and/or

reckless or deliberate indifference, declined or refused to do so.

       239.    These Defendants’ failures to intercede violated Leor Kweller’s clearly established

constitutional right to be free from unreasonable search and seizure and not to be deprived of

liberty without due process of law as guaranteed by the Fourth and Fourteenth Amendments. No

reasonable police officer or prosecutor in 2021 through 2023 would have believed that failing to

intervene to prevent these Defendants from deliberately failing to conduct a constitutionally

adequate investigation, fabricating inculpatory evidence, directing the destruction of material,


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exculpatory and/or impeachment evidence, material, withholding, exculpatory and/or

impeachment evidence, and causing Leor Kweller to be arrested and prosecuted without probable

cause, were lawful.

       240.    Leor Kweller is completely innocent of the rape of Defendants Demkovich and

Herceg. The prosecution finally terminated in Mr. Kweller’s favor on April 1, 2024, when the

Appellate Division Third Department dismissed Defendants’ frivolous appeal.

       241.    As a direct and proximate result of these Defendants’ actions, Leor Kweller spent

nearly two years fighting patently false allegations and criminal charges, arrested, and subjected

to a trial, and suffered the other grievous and continuing damages and injuries set forth above.

       242.    As a direct and proximate result of these Defendants’ actions, Zoe Liberman

suffered grievous and continuing damages and injuries set forth above.



                                   FOURTH CAUSE OF ACTION

                                    42 U.S.C. § 1983
                                  Supervisory Liability
  Against Defendant Korchak, Defendant Loughran, Defendant Minor, and Defendant Zikuski

       243.    Plaintiffs hereby incorporate by reference all of the foregoing paragraphs and

further alleges as follows:

       244.    The individual defendant assistant district attorneys and police officers acted with

impunity in an environment in which they were not adequately trained, supervised, or disciplined

by Defendant Korchak, Defendant Zikuski, and other supervisors, including Defendant Loughran

and Defendant Minor, and others, in this case and as a matter of practice.

       245.    Defendants Korchak and Zikuski, and other supervisors, including Defendant

Loughran and Defendant Minor, and others, acted with gross negligence, recklessness, and/or

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deliberate indifference to the constitutional rights of citizens by failing to provide adequate

training, supervision, and discipline of the defendant assistant district attorneys or police officers,

and thereby caused the individual defendant assistant district attorneys and police officers to

deprive Leor Kweller of his clearly established constitutional rights, including his rights to be free

from unreasonable searches and seizures, false arrest, false imprisonment, malicious prosecution,

and deprivation of liberty without due process of law.

       246.    Had Defendants Korchak and Zikuski, and other supervisors, including Defendant

Loughran and Defendant Minor, and others, not provided grossly inadequate training, supervision,

and discipline of the defendant assistant district attorneys and police officers, these defendants

would not and should not have fabricated inculpatory evidence, withheld exculpatory and

impeachment evidence, directed the destruction of exculpatory evidence, and intentionally and

maliciously caused Leor Kweller to be arrested and prosecuted without probable cause. Defendants

Korchak and Zikuski, and other supervisors, including Defendant Loughran and Defendant Minor,

and others, were directly involved in the investigation of Leor Kweller and directly supervised the

specific investigative acts taken by the individual assistant district attorney and police officer

defendants in this case.

       247.    The grossly negligent, reckless, and/or deliberately indifferent conduct of

Defendants Korchak and Zikuski, and other supervisors, including Defendant Loughran and

Defendant Minor, and others, under color of state law violated their clearly established duty, in

2021 through 2023, to supervise Defendants Congdon, Cronin, and Miller, and no reasonable

District Attorney or Police Chief or other supervising prosecutor or police officer in 2021 through

2023 would have believed that grossly negligent, reckless, and/or deliberately indifferent

supervision in the face of actual or constructive notice of misconduct by their subordinate officers

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was lawful.

       248.    Leor Kweller is completely innocent of the rape of Defendants Demkovich and

Herceg. The prosecution finally terminated in Mr. Kweller’s favor on April 1, 2024, when the

Appellate Division Third Department dismissed Defendants’ frivolous appeal.

       249.     As a direct and proximate result of these Defendants’ actions, Leor Kweller spent

nearly two years fighting patently false allegations and criminal charges, arrested, and subjected

to indictment, and suffered the other grievous and continuing damages and injuries set forth above.

       250.    As a direct and proximate result of these Defendants’ actions, Zoe Liberman

suffered grievous and continuing damages and injuries set forth above.




                                     FIFTH CAUSE OF ACTION

                                          42 U.S.C. § 1983
                                           Monell Claim
           Against Defendant County of Broome for the Actions and Omissions of the Broome
                                County DA’s Office and its employees
        251.    Plaintiffs hereby incorporate by reference all of the foregoing paragraphs and

further alleges as follows:

        252. The Broome County District Attorney and his authorized delegates, at all relevant

times, had final authority with respect to the training, supervision, discipline, and overall

management of personnel employed by or assigned to the BCDAO with respect to all of the

office’s functions, including the investigation and prosecution of criminal cases, and constituted

County policymakers for whose actions or omissions the County is liable.


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        253. The District Attorney, at all relevant times, was and is an elected officer of the

County, and the BCDA was and is substantially funded out of the County’s budget.

        254. The District Attorney was and is designated a “local officer,” rather than a “state

officer,” under New York Public Officers Law § 2.

        255. When dealing with issues of the administration of their office and their office’s

policies, the District Attorney and his assistant district attorneys are agents and employees of the

Defendant County.

        256. Under Federal and New York State law, the County of Broome at all relevant times,

was liable for torts committed by County officers and employees, including the District Attorney

and his assistants.

        257. The County Attorney represents such officers and employees in judicial

proceedings and indemnifies them because they are County officials.

        258. At the time of Mr. Kweller’s criminal prosecution, criminal defendants were

entitled, under the Fifth, Sixth, and Fourteenth Amendments to the United States Constitution, to

timely disclosure of all material information that was in the actual or constructive possession,

custody, or control of the BCDA and that was favorable to the defense, including but not limited

to exculpatory information that tended to contradict the prosecution’s case or otherwise show he

was innocent, and impeachment information that tended to undercut the credibility of the witnesses

against him, known as “Brady material.” They were also entitled under the Fourth Amendment to

be arrested and prosecuted only upon the existence of probable cause.

        259. The prosecution was constitutionally required to disclose Brady material as soon as

reasonably possible regardless of whether the defense had made a specific request for it.



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         260. The prosecution was constitutionally required to find out about and disclose such

information, whether it was in its actual possession or in the possession of any police department

that had been involved in the investigation or prosecution of the matter.

         261. While the right to timely disclosure of Brady material was intended to guarantee

the fairness of a criminal trial, the prosecution also had an obligation under the Fourth, Fifth, Sixth,

and Fourteenth Amendments to the United States Constitution to disclose evidence favorable to

the defense early in a criminal prosecution, when it was so clearly relevant to whether the

prosecution should continue, or the defendant should be released on bail, that the suppression of it

would shock the conscience.

         262. Similar to the Brady obligation is the state constitutional requirement, established

by People v. Rosario, 9 N.Y.2d 286 (1961), requiring disclosure at trial of the prior recorded

statements of prosecution witnesses so that defense counsel could decide how to use such material

to impeach such witnesses.

         263. Often, Rosario material also contains information favorable to the defense as

defined by Brady and its progeny.

         264. Related to Rosario and Brady is a prosecutor’s constitutional obligation, at all

stages of a criminal prosecution, not to advance, rely on, or fail to correct misleading evidence or

argument.

         265. At the time of Mr. Kweller’s arrest and prosecution in 2021-2023, there were well-

established rules of behavior for prosecutors during a pre-arrest investigation and at trial,

particularly with respect to the need for probable cause to exist prior to agreeing to, directing, or

advising that an arrest be effectuated, and regarding the disclosure of Brady and Giglio material,



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which were intended to ensure a fair trial. If serious enough, the violation of such rules would

deprive a criminal defendant of their federal constitutional rights.

            266. These well-established rules prohibited prosecutors from agreeing to, directing, or

advising that an arrest be effectuated in the absence of probable cause, or for any reason other than

the existence of probable cause, and withholding from the defense favorable evidence, and from

directing witnesses to destroy evidence, including favorable evidence.

            267. Furthermore, BCDAO failed to implement policies and procedures including

training and supervision to ensure that criminal defendants like Plaintiff who are being investigated

and charged by or through their offices would not have their constitutional rights violated.

            268. BCDAO had unconstitutionally infirm policies and procedures that led to assistant

district attorneys not knowing their obligations under Brady, Giglio, and discovery; or knowing

the law as to obtaining critical evidence that went to the heart of an ongoing investigation.

            269. For example, BCDAO allowed Defendant Congdon to become the Bureau Chief of

the Special Victims Bureau despite her having zero experience and competence to handle this

position.

            270. Even when Defendant Congdon warned Defendant Korchak, Defendant Loughran,

and the BCDAO that she was utterly unprepared and lacked the knowledge and training to handle

the position, her protestations were ignored and Defendant Korchak, Defendant Minor, and the

BCDAO took no steps whatsoever to ensure that Defendant Congdon’s lack of knowledge and

experience did not lead to the violation of the constitutional rights of criminal defendants,

including Plaintiff.

            271. Defendant Congdon should have declined the assignment but failed to do so,

continuing the infirm policy in doing so.

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         272. Then, Defendants Korchak and Loughran assigned her to investigate and try the

Plaintiff’s case even though it was reasonably foreseeable that she may violate his constitutional

rights due to her lack of training and experience.

         273. And that is exactly what happened. Congdon should have declined the assignment

of Plaintiff’s case but did not, continuing the infirm policy by doing so. Plaintiff’s Constitutional

rights were then violated as described above due to the failure of BCDAO and Defendants

Korchak and Loughran to train, supervise and intervene.

         274. Korchak, Loughran, Congdon, and Cronin are policy makers, as that term is

described in law, at BCDAO.

         275. By virtue of the foregoing, Defendants are liable for having substantially caused

the foregoing violations of Plaintiff’s constitutional rights and his resultant injuries.

                                       SIXTH CAUSE OF ACTION

                 Monell Claim for the Unconstitutional BPD Custom or Policy
                  Against Defendants City of Binghamton, Zikuski, and Minor

       276.    Plaintiffs hereby incorporate by reference all of the foregoing paragraphs and

further alleges as follows:

       277.    Chief Zikuski, Minor and their authorized delegates, at all relevant times, had final

authority with respect to the training, supervision, discipline, and overall management of personnel

employed by or assigned to the BPD with respect to all of the office’s functions, including the

investigation and prosecution of criminal cases, and constituted City policymakers for whose

actions or omissions the City is liable.

       278.    Defendants Zikuski and Minor, at all relevant times, were and are officers of the

City, and the BPD were and are substantially funded out of the City’s budget.


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       279.    The Defendants Zikuski and Minor and BPD officers and staff are agents and

employees of the Defendant City of Binghamton.

       280.    Under Federal and New York State law, the City of Binghamton, at all relevant

times, was liable for torts committed by its officers and employees, including the District Attorney

and his assistants that resulted from a municipal policy, custom and practice.

       281.    At the time of Mr. Kweller’s criminal prosecution, criminal defendants were

entitled, under the Fifth, Sixth, and Fourteenth Amendments to the United States Constitution, to

timely disclosure of all material information that was in the actual or constructive possession,

custody, or control of the BPD and that was favorable to the defense, including but not limited to

exculpatory information that tended to contradict the prosecution’s case or otherwise show he was

innocent, and impeachment information that tended to undercut the credibility of the witnesses

against him, known as “Brady material.” They were also entitled under the Fourth Amendment to

be arrested and prosecuted only upon the existence of probable cause.

       282.    At the time of Mr. Kweller’s criminal prosecution, criminal defendants were

entitled, under the Fifth, Sixth, and Fourteenth Amendments to the United States Constitution, to

timely disclosure of all material information that was in the actual or constructive possession,

custody, or control of the BPD and that was favorable to the defense, including but not limited to

exculpatory information that tended to contradict the prosecution’s case or otherwise show he was

innocent, and impeachment information that tended to undercut the credibility of the witnesses

against him, known as “Brady material.” They were also entitled under the Fourth Amendment to

be arrested and prosecuted only upon the existence of probable cause.




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        283.      The police and prosecution were constitutionally required to disclose Brady

material as soon as reasonably possible regardless of whether the defense had made a specific

request for it.

        284.      The police and prosecution were constitutionally required to find out about and

disclose such information, whether it was in its actual possession or in the possession of any police

department that had been involved in the investigation or prosecution of the matter.

        285.      While the right to timely disclosure of Brady material was intended to guarantee

the fairness of a criminal trial, the police and prosecution also had an obligation under the Fourth,

Fifth, Sixth, and Fourteenth Amendments to the United States Constitution to disclose evidence

favorable to the defense early in a criminal prosecution, when it was so clearly relevant to whether

the prosecution should continue that the suppression of it would shock the conscience.

        286.      Similar to the Brady obligation is the state constitutional requirement, established

by People v. Rosario, 9 N.Y.2d 286 (1961), requiring disclosure at trial of the prior recorded

statements of prosecution witnesses so that defense counsel could decide how to use such material

to impeach such witnesses.

        287.      Often, Rosario material also contains information favorable to the defense as

defined by Brady and its progeny.

        288.      Related to Rosario and Brady is a prosecutor’s constitutional obligation, at all

stages of a criminal prosecution, not to advance, rely on, or fail to correct misleading evidence or

argument.

        289.      At the time of Mr. Kweller’s prosecution in 2023, there were well-established rules

of behavior for police and prosecutors during a pre-arrest investigation and at trial, particularly

with respect to the need for probable cause to exist prior to agreeing to, directing, or effectuating

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an arrest, and regarding the disclosure of Brady and Giglio material, which were intended to ensure

a fair trial. If serious enough, the violation of such rules would deprive a criminal defendant of

their federal constitutional rights.

        290.    These well-established rules prohibited police from agreeing to, directing, or

effectuating an arrest in the absence of probable cause, or for any reason other than the existence

of probable cause, and withholding from the defense favorable evidence, and from directing

witnesses to destroy evidence, including favorable evidence.

        291.    Furthermore, BPD failed to implement policies and procedures including training

and supervision to ensure that defendants like Plaintiff who are being investigated and charged by

or through their offices would not have their Constitutional rights violated.

        292.    BPD had unconstitutionally infirm policies and procedures that led officers not to

know, or comply with, their obligations under Brady, Giglio, and discovery more broadly.

        293.    Det. Amanda Miller had insufficient training and experience in making

determinations about Brady, Giglio and probable cause.

        294.    Zikuski, Minor, and Miller are policy makers, as that term is described in law, at

BPD.

        295.    By virtue of the foregoing, Defendants are liable for having substantially caused

the foregoing violations of Plaintiff’s constitutional rights and his resultant injuries.

                                       SEVENTH CAUSE OF ACTION

                                 42 U.S.C. § 1983 Civil Rights Conspiracy
                                          Against All Defendants

        296.    Plaintiffs hereby incorporate by reference all of the foregoing paragraphs and

further alleges as follows:


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        297.     The Defendants, acting within the scope of their employment and under color of

state law, and Defendants Herceg and Demkovich, agreed among themselves and with other

individuals to act in concert in order to deprive Plaintiff of his clearly established Fourth and

Fourteenth Amendment rights to be free from unreasonable searches and seizures, false arrest,

false imprisonment, malicious prosecution, and deprivation of liberty without due process of law,

and also deprived Plaintiff of his right to a fair trial.

        298.      In furtherance of the conspiracy, Defendants engaged in and facilitated

numerous overt acts, including, without limitation, the following:

            a.   Falsely arresting and imprisoning Plaintiff, knowing that they lacked probable

                 cause;

            b. Fabricating inculpatory evidence in reports, statements, and pretrial

                 communications with the prosecution, including the statements of Herceg and

                 Demkovich;

            c. Suppressing exculpatory evidence for the purpose of inculpating Plaintiff;

            d. Committing, suborning and failing to correct perjury during grand jury, hearings
               and trials.

        299.     Plaintiff is completely innocent of the alleged rape of Defendant Demkovich and

Herceg. The prosecution finally terminated in Mr. Kweller’s favor on April 1, 2024, when the

Appellate Division Third Department dismissed Defendants’ frivolous appeal.

        300.     As a direct and proximate result of these Defendants’ actions, Leor Kweller spent

nearly two years fighting patently false allegations and criminal charges, arrested, and subjected

to indictment, and suffered the other grievous and continuing damages and injuries set forth above.

        301.     As a direct and proximate result of these Defendants’ actions, Zoe Liberman


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suffered grievous and continuing damages and injuries set forth above.

                                         STATE LAW CLAIMS

                                     EIGHTH CAUSE OF ACTION
                                 False Arrest and Malicious Prosecution
                                         Against All Defendants
        302.    Plaintiffs hereby incorporate by reference all of the foregoing paragraphs and

further alleges as follows:

        303.    Defendants despite knowing that probable cause did not exist to arrest and

prosecute Leor Kweller for the rape of Defendant Demkovich and Herceg                   intentionally,

recklessly, and with malice caused Leor Kweller to be arrested and prosecuted for the rape of

Defendant Demkovich and Herceg.           Furthermore, these Defendants intentionally withheld

evidence, made false statements and misrepresented to Mr. Kweller’s defense counsel, the grand

jury, and the court, facts that further vitiated probable cause against Leor Kweller.

        304.    Defendants Demkovich and Herceg played active roles in the arrest and prosecution

of Plaintiff.

        305.    Defendants Demkovich and Herceg provided false evidence in the arrest and

prosecution of Plaintiff.

        306.    Defendants Demkovich and Herceg withheld exculpatory evidence during the

arrest and prosecution of Plaintiff.

        307.    Defendants Demkovich and Herceg, by providing false information to the

government, importuned the government defendants to act and caused the arrest and prosecution

of Plaintiff.

        308.    From the time they made their false complaint against Plaintiff up until the time of

Plaintiff’s arrest, Defendants Demkovich and Herceg were engaged in driving up public calls for

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the arrest of Plaintiff.

        309.    From the time they made their false complaint against Plaintiff up until the time of

Plaintiff’s arrest, Defendants Demkovich and Herceg were engaged in pressuring and importuning

the government defendants to arrest Plaintiff.

        310.    Meanwhile, Defendants Demkovich and Herceg knew that Plaintiff committed no

crimes on the night in question.

        311.    In furtherance of their drive to cause Plaintiff to be arrested and prosecuted for

crimes he did not commit, Defendants Demkovich and Herceg filed false police statements,

withheld evidence, and committed perjury.

        312.    Defendants Demkovich and Herceg did all the foregoing intentionally, maliciously,

knowingly and/or in reckless disregard of the truth.

        313.    The actions and omissions of Defendants Demkovich and Herceg were a substantial

factor in causing the false arrest and malicious prosecution of Plaintiff.

        314.    Plaintiff is completely innocent of the alleged rape of Defendant Demkovich and

Herceg. The prosecution finally terminated in Mr. Kweller’s favor on April 1, 2024, when the

Appellate Division Third Department dismissed Defendants’ frivolous appeal.

        315.     As a direct and proximate result of these Defendants’ actions, Leor Kweller spent

nearly two years fighting patently false allegations and criminal charges, arrested, and subjected

to indictment, and suffered the other grievous and continuing damages and injuries set forth above.

        316.    As a direct and proximate result of these Defendants’ actions, Zoe Liberman

suffered grievous and continuing damages and injuries set forth above.

                                      NINTH CAUSE OF ACTION

                   Intentional, Reckless, or Negligent Infliction of Emotional Distress

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                                         Against All Defendants

       317.    Plaintiffs hereby incorporate by reference all of the foregoing paragraphs and

further alleges as follows:

       318.    The improper, deliberate, and traumatizing conduct of the Defendants in

deliberately and knowingly causing, or recklessly disregarding the risk of causing, the wrongful

arrest, prosecution, and concomitant severe emotional distress, was extreme and outrageous, and

directly and proximately caused the grievous injuries and damages set forth above.

       319.    In the alternative, Defendants negligently and grossly negligently, and in breach of

their duties owed to Leor Kweller to, inter alia, refrain from relying on statements from witnesses

that these Defendants knew or should have known were false; refrain from fabricating evidence;

refrain from directing the destruction of exculpatory and/or impeachment evidence; disclose

material exculpatory and/or impeachment evidence; and otherwise act to deny Leor Kweller due

process of law, directly and proximately caused Leor Kweller to be falsely arrested and maliciously

prosecuted. Defendants’ actions unreasonably endangered Leor Kweller’s physical and mental

health and safety, and caused him to suffer physical and emotional harm, including physical

ailments resulting from the circumstances and duration of his wrongful incarceration.

       320.    These Defendants engaged in these acts within the scope of their employment.

       321.    These claims are tolled as these Defendants concealed from Leor Kweller—and

still are concealing to this day—their wrongful conduct giving rise to this cause of action.

                                     TENTH CAUSE OF ACTION

                       Article I, §§ 6 and 12 of the New York State Constitution
                                          Against All Defendants

       322.    Plaintiffs hereby incorporate by reference all the foregoing paragraphs and further


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alleges as follows:

       323.    The conduct of Defendants, described above, also violated Mr. Kweller’s rights

under the New York State Constitution, Article I, §§ 6 and 12, to due process of law and to be free

from unreasonable searches and seizures.

       324.    Plaintiff is completely innocent of the alleged rape of Defendant Demkovich and

Herceg. The prosecution finally terminated in Mr. Kweller’s favor on April 1, 2024, when the

Appellate Division Third Department dismissed Defendants’ frivolous appeal.



       325.     As a direct and proximate result of these Defendants’ actions, Leor Kweller spent

nearly two years fighting patently false allegations and criminal charges, arrested, and subjected

to indictment, and suffered the other grievous and continuing damages and injuries set forth above.

       326.    As a direct and proximate result of these Defendants’ actions, Zoe Liberman

suffered grievous and continuing damages and injuries set forth above.

                                       ELEVENTH CAUSE OF ACTION

                                             Respondeat Superior
                              Against City of Binghamton and County of Broome
       327.    Plaintiffs hereby incorporate by reference all of the foregoing paragraphs and

further alleges as follows:

       328.    At all times relevant to this Complaint, the Individual Defendants Zikuski, Minor

and Miller acted as agents of the City in furtherance of the business, including law enforcement

and prosecutorial functions, of the City, and within the scope of their employment or agency with

the City.

       329.    At all times relevant to this Complaint, the Individual Defendants Korchak,

Loughran, Cronin and Congdon acted as agents of the County of Broome in furtherance of the
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business, including law enforcement and prosecutorial functions, of the County, and within the

scope of their employment or agency with the County.

       330.    The conduct by which the Individual Defendants committed the torts of malicious

prosecution, intentional, reckless, or negligent infliction of emotional distress, and negligence was

not undertaken for the Individual Defendants’ personal motives, but rather was undertaken while

the Individual Defendants were on duty, carrying out their routine prosecutorial and investigative

functions as police officers and assistant district attorneys.



       331.    Under the doctrine of respondeat superior, the County is liable for their agents’

state law torts of malicious prosecution, intentional, reckless, or negligent infliction of emotional

distress, and negligence.



                                        TWELFTH CAUSE OF ACTION

                                            Abuse of Process
                      Against The City of Binghamton and Defendants Korchak and Zikuski

       332.    Plaintiffs hereby incorporate by reference all of the foregoing paragraphs and

further alleges as follows:

       333.    The criminal complaint and indictment in this matter were improperly used and

obtained by Defendants Korchak and Zikuski through the non-disclosure of exculpatory evidence

and in the absence of probable cause.

       334.    The criminal complaint and indictment in this matter were improperly used and

obtained by Defendants Korchak and Zikuski not to serve the interests of justice or to even properly

prosecute Plaintiff but rather to serve collateral objectives.


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       335.    After the allegations were filed with the BPD by Defendants Herceg and

Demkovich, public pressure grew against Plaintiff, Jordan Rindgen and Yaron Kweller and called

for his arrest and prosecution.

       336.    Protests were staged in front of Yaron Kweller’s businesses calling for a boycott of

his establishments and calling for his arrest and prosecution.

       337.    Online forums and websites continued to call for the arrest and prosecution of

Plaintiff and the others.

       338.    Defendant Korchak was facing a re-election in the upcoming year.

       339.    To bolster and support Defendant Korchak’s re-election and to quell the growing

public outcry for the arrest and prosecution of Plaintiff and others, Defendants Korchak and

Zikuski continued with the arrest and prosecution of Plaintiff in the absence of probable cause.



       WHEREFORE, Plaintiffs Leor Kweller and Zoe Liberman pray as follows:

               a.      That the Court award compensatory damages to them and against the

                       defendants, jointly and severally, in an amount to be determined at trial;

               b.      That the Court award punitive damages to them against all individual

                       defendants, in an amount to be determined at trial, that will deter such

                       conduct by defendants in the future;

               c.      For a trial by jury;

               d.      For pre-judgment and post-judgment interest and recovery of his costs,

                       including reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988 for all 42

                       U.S.C. § 1983 claims; and

               e.      For any and all other relief to which he may be entitled.

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Dated:     New York, New York
           March 18, 2025


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